                 Case 8:20-cv-00048-JVS-JDE     Document 2455-1      Filed 01/08/25   Page 1 of 58 Page
                                                     ID #:204361

             1      MARK D. SELWYN, SBN 244180
                      mark.selwyn@wilmerhale.com
             2      THOMAS G. SPRANKLING, SBN 294831
                    thomas.sprankling@wilmerhale.com
             3      WILMER CUTLER PICKERING
                      HALE AND DORR LLP
             4      2600 El Camino Real, Suite 400
                    Palo Alto, CA 94306
             5      Tel.: 650.858.6000 / Fax: 650.858.6100
             6      JOSHUA H. LERNER, SBN 220755
                      joshua.lerner@wilmerhale.com
             7      WILMER CUTLER PICKERING
                     HALE AND DORR LLP
             8      One Front Street, Suite 3500
                    San Francisco, CA 94111
             9      Tel.: 628.235.1000 / Fax: 628.235.1001
           10       AMY K. WIGMORE, pro hac vice
                    amy.wigmore@wilmerhale.com
           11       WILMER CUTLER PICKERING
                      HALE AND DORR LLP
           12       2100 Pennsylvania Ave NW
                    Washington, DC 20037
           13       Tel.: 202.663.6000 / Fax: 202.663.6363
           14       [Counsel appearance continues on next page]
           15       Attorneys for Defendant Apple Inc.
           16                       UNITED STATES DISTRICT COURT
           17             CENTRAL DISTRICT OF CALIFORNIA - SOUTHERN DIVISION

           18       MASIMO CORPORATION,                           CASE NO. 8:20-cv-00048-JVS (JDEx)
                    a Delaware corporation; and
           19       CERCACOR LABORATORIES, INC.,                  APPLE’S POST-TRIAL BRIEF
                    a Delaware corporation,
           20
                                       Plaintiffs,
           21                                                     Trial: Nov. 5, 2024
                          v.                                      Hearing: Jan. 27, 2025, 1:30 p.m.
           22
                    APPLE INC.,
           23       a California corporation,
           24                          Defendant.
           25
           26                             REDACTED VERSION OF DOCUMENT
           27                             PROPOSED TO BE FILED UNDER SEAL
           28

Wilmer Cutler
Pickering Hale       APPLE’S POST-TRIAL BRIEF
and Dorr LLP
                                                                            CASE NO. 8:20-cv-00048-JVS (JDEX)
                 Case 8:20-cv-00048-JVS-JDE     Document 2455-1    Filed 01/08/25   Page 2 of 58 Page
                                                     ID #:204362

             1      JOSEPH J. MUELLER, pro hac vice
                     joseph.mueller@wilmerhale.com
             2
                    SARAH R. FRAZIER, pro hac vice
             3       sarah.frazier@wilmerhale.com
                    WILMER CUTLER PICKERING
             4        HALE AND DORR LLP
                    60 State Street
             5      Boston, MA 02109
                    Tel.: 617.526.6000 / Fax: 617.526.5000
             6
                    NORA Q.E. PASSAMANECK, pro hac vice
             7       nora.passamaneck@wilmerhale.com
                    WILMER CUTLER PICKERING
             8       HALE AND DORR LLP
                    1225 Seventeenth Street, Suite 2600
             9      Denver, CO 80202
                    Tel.: 720.274.3152 / Fax: 720.273.3133
           10
                    BRIAN A. ROSENTHAL, pro hac vice
           11        brosenthal@gibsondunn.com
                    GIBSON, DUNN & CRUTCHER LLP
           12       200 Park Avenue
                    New York, NY 10166-0193
           13       Tel.: 212.351.2339 / Fax: 212.817.9539
           14       KENNETH G. PARKER, SBN 182911
                     Ken.parker@haynesboone.com
           15       HAYNES AND BOONE, LLP
                    660 Anton Boulevard, Suite 700
           16       Costa Mesa, CA 92626
                    Tel.: 650.949.3014 / Fax: 949.202.3001
           17
           18
           19
           20
           21
           22
           23
           24
           25
           26
           27
           28

Wilmer Cutler
Pickering Hale       APPLE’S POST-TRIAL BRIEF
and Dorr LLP
                                                                          CASE NO. 8:20-cv-00048-JVS (JDEX)
                 Case 8:20-cv-00048-JVS-JDE                 Document 2455-1               Filed 01/08/25          Page 3 of 58 Page
                                                                 ID #:204363

             1                                                  TABLE OF CONTENTS
             2      INTRODUCTION................................................................................................................. 1
             3      ARGUMENT ...................................................................................................................... 5
             4      I.       PLAINTIFFS HAVE NOT REMOTELY MET THEIR BURDEN TO ESTABLISH TRADE
                             SECRET MISAPPROPRIATION, THAT THE STATUTE OF LIMITATIONS DOES NOT
             5               APPLY, OR THAT AN INJUNCTION IS APPROPRIATE ............................................... 5
             6               A.        None Of The Five Remaining Alleged Trade Secrets Was Possessed By
             7                         Plaintiffs, Qualifies As A Trade Secret Under CUTSA, Or Was
                                       Misappropriated By Apple ......................................................................... 5
             8
                                       1.       Plaintiffs Have Not Shown L4 (The Accused Black Foam Test) Is
             9                                  A Trade Secret Or That Apple Misappropriated It .......................... 6
           10                          2.       Plaintiffs Have Not Shown L5 (The Accused Short Circuit) Is A
                                                Trade Secret Or That Apple Misappropriated It ............................ 19
           11
                                       3.       Plaintiffs Have Not Shown D1, D3, D10 (The Rejected
           12                                   Demodulation Proposal) Are Trade Secrets Or That Apple
           13                                   Misappropriated Them ................................................................... 25
                             B.        Plaintiffs Have Failed To Prove That Apple Had The Requisite Intent To
           14
                                       Misappropriate Trade Secrets .................................................................. 32
           15                          1.       Apple Did Not Hire Dr. Lamego Intending To Access Plaintiffs’
           16                                   Confidential Information (Direct Misappropriation) ..................... 33
           17                          2.       Plaintiffs Have Not Established That Apple Knew Or Should Have
                                                Known That Dr. Lamego Conveyed Any Of Plaintiffs’ Allegedly
           18                                   Confidential Information During His Six-Month Employment
           19                                   (Indirect Misappropriation)............................................................ 34
                             C.        Plaintiffs’ CUTSA Claim Is Time Barred................................................ 36
           20
                             D.        Plaintiffs Are Not Entitled To An Injunction Or Any Other Relief ........ 39
           21
                                       1.       Plaintiffs Are Barred From Receiving An Injunction ................... 39
           22
                                       2.       Plaintiffs Are Not Entitled To An Injunction Under eBay ............ 40
           23                          3.       If Any Party Should Receive Attorney’s Fees, It Is Apple ........... 43
           24       II.      PLAINTIFFS HAVE NOT PROVEN THAT MR. DIAB CO-INVENTED OR THAT
           25                PLAINTIFFS CO-OWN THE APPLE PATENTS ......................................................... 46
                             A.        The Reflective Treatments Applied To Apple Watch That Are Claimed In
           26                          The ’052 and ’670 Patents Were Not Invented By Mr. Diab, Nor Are
           27                          They Co-Owned By Plaintiffs .................................................................. 46
           28                B.        Plaintiffs Failed To Prove That They Co-Own The                                  ............. 47

Wilmer Cutler
Pickering Hale       APPLE’S POST-TRIAL BRIEF
and Dorr LLP
                                                                                   i                 CASE NO. 8:20-cv-00048-JVS (JDEX)
                 Case 8:20-cv-00048-JVS-JDE                 Document 2455-1               Filed 01/08/25           Page 4 of 58 Page
                                                                 ID #:204364

             1               C.       Mr. Diab’s Discussions With Dr. Lamego About Prior Art Do Not Make
             2                        Mr. Diab A Co-Inventor Or Plaintiffs Co-Owners Of The ’095 and ’390
                                      Patents ...................................................................................................... 48
             3
                    CONCLUSION ............................................................................................................. 49
             4
             5
             6
             7
             8
             9
           10
           11
           12
           13
           14
           15
           16
           17
           18
           19
           20
           21
           22
           23
           24
           25
           26
           27
           28

Wilmer Cutler
Pickering Hale       APPLE’S POST-TRIAL BRIEF
and Dorr LLP
                                                                                   ii                 CASE NO. 8:20-cv-00048-JVS (JDEX)
                 Case 8:20-cv-00048-JVS-JDE              Document 2455-1            Filed 01/08/25         Page 5 of 58 Page
                                                              ID #:204365

             1                                            TABLE OF AUTHORITIES
             2
                                                                                                                                 Page(s)
             3
                    Cases
             4
                    Acromed Corp. v. Sofamor Danek Grp., Inc.,
             5
                       253 F.3d 1371 (Fed. Cir. 2001) ................................................................................ 48
             6
                    Ajaxo Inc. v. E*Trade Grp. Inc.,
             7         135 Cal. App. 4th 21 (2005) ..................................................................................... 44
             8
                    Altavion, Inc. v. Konica Minolta Sys. Lab’y Inc.,
             9         226 Cal. App. 4th 26 (2014) ..................................................................................... 13
           10       Atmel Corp. v. Info. Storage Devices, Inc.,
           11          189 F.R.D. 410 (N.D. Cal. 1999) ................................................................... 8, 22, 28
           12       Attia v. Google LLC,
                       983 F.3d 420 (9th Cir. 2020) .............................................................................. 14, 30
           13
           14       Bennett v. Isagenix Int’l,
                      118 F.4th 1120 (9th Cir. 2024) ................................................................................. 42
           15
           16       Citcon USA, LLC v. RiverPay Inc.,
                       2022 WL 287563 (9th Cir. Jan. 31, 2022) ................................................................ 41
           17
                    Dana-Farber Cancer Inst., Inc. v. Ono Pharm. Co.,
           18         964 F.3d 1365 (Fed. Cir. 2020) ................................................................................ 49
           19
                    Direct Techs., LLC v. Elec. Arts, Inc.,
           20          836 F.3d 1059 (9th Cir. 2016) .................................................................................. 45
           21       DVD Copy Control Ass’n, Inc. v. Bunner,
           22         116 Cal. App. 4th 241 (2004) ..................................................................................... 5
           23       eBay Inc. v. MercExchange, LLC,
           24         547 U.S. (2006)......................................................................................... 4, 40, 41, 42

           25       Eli Lilly & Co. v. Aradigm Corp.,
                       376 F.3d 1352 (Fed. Cir. 2004) ................................................................................ 46
           26
           27       EnerTrode, Inc. v. Gen. Capacitor Co.,
                      2019 WL 1715170 (N.D. Cal. Apr. 17, 2019) .................................................... 44, 45
           28

Wilmer Cutler
Pickering Hale       APPLE’S POST-TRIAL BRIEF
and Dorr LLP
                                                                              iii              CASE NO. 8:20-cv-00048-JVS (JDEX)
                 Case 8:20-cv-00048-JVS-JDE             Document 2455-1            Filed 01/08/25         Page 6 of 58 Page
                                                             ID #:204366

             1      Fractus, S.A. v. Samsung Electronics Co.,
             2         876 F. Supp. 2d 802 (E.D. Tex. 2012) ..................................................................... 43

             3      Gabriel Techs. Corp. v. Qualcomm Inc.,
                      857 F. Supp. 2d 997 (S.D. Cal. 2012) ...................................................................... 37
             4
             5      Gemini Aluminum Corp. v. Cal. Custom Shapes, Inc.,
                      95 Cal. App. 4th 1249 (2002) ................................................................................... 45
             6
                    Imax Corp. v. Cinema Techs., Inc.,
             7
                      152 F.3d 1161 (9th Cir. 1998) ...................................................................... 13, 14, 20
             8
                    Lamb-Weston, Inc. v. McCain Foods, Ltd.,
             9        941 F.2d 970 (9th Cir. 1991) .................................................................................... 42
           10
                    Masimo Corp. v. True Wearables, Inc.,
           11         2022 WL 205485 (Fed. Cir. Jan. 24, 2022) .............................................................. 10
           12       Moore v. Robinson Oil Corp.,
           13         588 F. App’x 528 (9th Cir. 2014) ............................................................................. 22
           14       Olaplex, Inc. v. L’Oreal USA, Inc.,
           15          855 F. App’x 701 (Fed. Cir. 2021) ........................................................................... 13

           16       Paice LLC v. Toyota Motor Corp.,
                       504 F.3d 1293 (Fed. Cir. 2007) ................................................................................ 42
           17
           18       Pannu v. Iolab Corp.,
                      155 F.3d 1344 (Fed.Cir.1998) .................................................................................. 48
           19
                    Robert Bosch LLC v. Pylon Mfg. Corp.,
           20         659 F.3d 1142 (Fed. Cir. 2011) ................................................................................ 41
           21
                    Robert L. Cloud & Assocs v. Mikesell,
           22         69 Cal. App. 4th 1141 (1999) ................................................................................... 42
           23       San Miguel Pure Foods Co., v. Ramar Int’l Corp.,
           24          625 F. App’x 322 (9th Cir. 2015) ............................................................................. 40
           25       Sargent Fletcher v. Able Corp.,
           26          110 Cal. App. 4th 1658 (2003) ................................................................................. 15

           27       SkinMedica, Inc. v. Histogen Inc.,
                       869 F.Supp.2d 1176 (S.D. Cal. 2012) ...................................................................... 30
           28

Wilmer Cutler
Pickering Hale       APPLE’S POST-TRIAL BRIEF
and Dorr LLP
                                                                             iv               CASE NO. 8:20-cv-00048-JVS (JDEX)
                 Case 8:20-cv-00048-JVS-JDE               Document 2455-1              Filed 01/08/25         Page 7 of 58 Page
                                                               ID #:204367

             1      Ultimax Cement Mfg. Corp. v. CTS Cement Mfg. Corp.,
             2         587 F.3d 1339 (Fed. Cir. 2009) ................................................................................ 10

             3      Unilogic, Inc. v. Burroughs Corp.,
                      10 Cal. App. 4th 612 (1992) ..................................................................................... 32
             4
             5      Waymo LLC v. Uber Techs., Inc.,
                      2017 WL 2123560 (N.D. Cal. May 15, 2017).......................................................... 20
             6
                    Waymo LLC v. Uber Techs., Inc.,
             7
                      2018 WL 466510 (N.D. Cal. Jan. 18, 2018)...................................................... passim
             8
                    Yeti by Molly Ltd. v. Deckers Outdoor Corp.,
             9         259 F.3d 1101 (9th Cir. 2001) .................................................................................. 40
           10
                    Statutes
           11
                    Cal. Bus. & Prof. Code § 16600 .................................................................................... 37
           12
                    Cal. Civ. Code § 3426.1 ..................................................................................... 14, 32, 34
           13
           14       Cal. Civ. Code § 3426.2 ................................................................................................. 43
           15       Cal. Civ. Code § 3426.4 ................................................................................................. 45
           16
           17
           18
           19
           20
           21
           22
           23
           24
           25
           26
           27
           28

Wilmer Cutler
Pickering Hale       APPLE’S POST-TRIAL BRIEF
and Dorr LLP
                                                                                v                CASE NO. 8:20-cv-00048-JVS (JDEX)
                 Case 8:20-cv-00048-JVS-JDE     Document 2455-1      Filed 01/08/25   Page 8 of 58 Page
                                                     ID #:204368

             1                                        INTRODUCTION
             2            After nearly five years of litigation and two trials, it remains unclear why Joe
             3      Kiani chose to file this suit and why Plaintiffs have forced this Court and Apple to spend
             4      the time and resources litigating over a black foam quality control test, a single short
             5      circuit (out of millions of Apple Watch circuits), and a rejected demodulation proposal
             6      that Apple has undisputedly never used or licensed. It may have been pique over Apple
             7      hiring certain personnel from Plaintiffs, personal anger towards Dr. Marcelo Lamego, a
             8      desire to further Mr. Kiani’s prior aspiration to move Plaintiffs beyond the clinical
             9      setting, or simply an attempt to obtain billions of dollars (via damages claims that have
           10       now been dropped). But what is clear, and what the retrial record firmly established, is
           11       that Apple did not misappropriate any trade secrets from Plaintiffs.
           12                    Plaintiffs Failed To Trace Any Thread Of Misappropriation
           13             Despite combing for years through the millions of pages of discovery and
           14       examining dozens of Apple witnesses in over one hundred hours of depositions and at
           15       two trials, Plaintiffs’ final arguments at the November 2024 retrial were quite narrow.
           16       Of the various employees of Plaintiffs who—over many years—have chosen to work at
           17       Apple, Plaintiffs now assert just one (Dr. Marcelo Lamego, who worked at Apple for six
           18       months over a decade ago) conveyed trade secrets to Apple. Where Plaintiffs once
           19       alleged misappropriation of dozens of purported trade secrets, their case now rests on
           20       black foam, a short circuit, and an algorithm ill-suited to wearable devices. That
           21       Plaintiffs’ case has now been reduced to these three things—only one of which (the short
           22       circuit) is even arguably in Apple Watch—demonstrates Plaintiffs’ inability to identify
           23       any technological thread that runs from Plaintiffs, through Dr. Lamego, to Apple Watch.
           24              Unable to trace such a thread from any secrets that Plaintiffs possessed, Plaintiffs
           25       provided a written description of “trade secrets” that used generalized terms drawing on
           26       well-known concepts—alleging trade secrets that are not secrets at all. Indeed, Plaintiffs
           27       would be unable to make out a viable claim for L4 and L5 even if (contrary to fact) Dr.
           28       Lamego conveyed those two purported secrets to Apple verbatim and Apple had used

Wilmer Cutler
Pickering Hale       APPLE’S POST-TRIAL BRIEF
and Dorr LLP
                                                                1            CASE NO. 8:20-cv-00048-JVS (JDEX)
                 Case 8:20-cv-00048-JVS-JDE     Document 2455-1    Filed 01/08/25   Page 9 of 58 Page
                                                     ID #:204369

             1      them. That is because both L4 and L5 draw on rudimentary ideas that have been known
             2      for years, which can be summarized in plain English as
             3
             4
             5                                                       The law simply does not permit treating
             6      such well-known, simple concepts as trade secrets.
             7            The fundamental problem is that Plaintiffs failed to prove a connection between
             8      any actual secret they possessed, the suggestions Dr. Lamego made during his six-month
             9      employment at Apple, and the technologies used in Apple Watch. As to the purported
           10       D secrets, for example, Plaintiffs have contended D1, D3, and D10 were included in
           11
           12                                                             but there is no dispute that Apple
           13       rejected Dr. Lamego’s suggestion and that the Ds have never been used in any Apple
           14       Watch. The retrial also established that Plaintiffs themselves did not possess the full
           15       breadth of what is covered by D1, D3, and D10.
           16             Similarly, as to L4, Plaintiffs do not seriously contend that Dr. Lamego taught
           17       Apple the very basic concepts claimed by the purported secret
           18
           19                   . Rather, the evidence established that, before Dr. Lamego was hired, Apple
           20       engineers knew
           21
           22                  See, e.g., Land Direct ¶¶ 28-29. Apple engineers even knew how to perform
           23                                                                               . 11/12 PM Tr.
           24       [Land] 30:6-21. At its root, L4 reflects common sense:
           25
           26
           27
           28

Wilmer Cutler
Pickering Hale       APPLE’S POST-TRIAL BRIEF
and Dorr LLP
                                                              2            CASE NO. 8:20-cv-00048-JVS (JDEX)
                 Case 8:20-cv-00048-JVS-JDE       Document 2455-1      Filed 01/08/25    Page 10 of 58
                                                  Page ID #:204370

             1          And as to L5, which requires
             2
             3
             4
             5
             6
             7
             8
             9
           10
           11
           12           In a final effort to find some thread running from their technology, through Dr.
           13     Lamego, to Apple, Plaintiffs’ witnesses and counsel alike changed their position on the
           14     scope of the alleged trade secrets during trial. Plaintiffs’ counsel asserted that Plaintiffs’
           15     own written descriptions of the purported trade secrets are not controlling, see 11/5 AM
           16     Tr. [Opening] 20:15-21, when they had previously agreed to jury instructions stating
           17     that the “descriptions provide the controlling definitions of the Asserted Trade Secrets
           18     in this case,” Dkt. 2345 at 2-4. Plaintiffs’ witnesses treated the purported secrets like an
           19     accordion, narrowing them when trying to establish possession and broadening the same
           20     supposed secrets when trying to establish that the same concepts were not generally
           21     known and that Apple had used them.
           22                     Plaintiffs Failed To Meet Multiple Legal Requirements
           23           Despite this maneuvering, Plaintiffs never arrived at a theory that would clear any
           24     of the many hurdles needed to receive relief under the California Uniform Trade Secret
           25     Act (“CUTSA”), the Patent Act, or general state law ownership principles. First,
           26     Plaintiffs failed to prove that L4, L5, D1, D3, or D10 are cognizable trade secrets. They
           27     are not. Plaintiffs failed to show that they possessed any of the alleged trade secrets in
           28     full—or that what they did possess was not generally known. Plaintiffs further failed to

Wilmer Cutler
Pickering Hale     APPLE’S POST-TRIAL BRIEF
and Dorr LLP
                                                               3             CASE NO. 8:20-cv-00048-JVS (JDEX)
                 Case 8:20-cv-00048-JVS-JDE      Document 2455-1      Filed 01/08/25   Page 11 of 58
                                                 Page ID #:204371

             1    show that Apple improperly used or disclosed the supposed secrets. It did not. Rather,
             2    the evidence is clear that what is accused differs from what Plaintiffs actually possessed.
             3          Second, Plaintiffs have not come close to establishing that Apple had the requisite
             4    intent for misappropriation—i.e., that at least one Apple employee other than Dr.
             5    Lamego himself knew or should have known that the information covered by the five
             6    purported trade secrets was acquired through improper means. Every single Apple
             7    witness testified that they did not believe Apple had received any of Plaintiffs’
             8    confidential information. They were right: Apple had not.
             9          Third, even if Plaintiffs could make out a prima facie misappropriation case (they
           10     cannot), they failed to meet their burden to show that they could not have filed their suit
           11     within the three-year statute of limitations. As early as January 2014, Plaintiffs sent a
           12     letter accusing Apple of engaging in precisely the same conduct that is at the heart of
           13     the current litigation—i.e., hiring Dr. Lamego to gain access to Plaintiffs’ proprietary
           14     pulse oximetry technology.       Moreover, at least by March 2016, a reasonable
           15     investigation into publicly available patent filings would have confirmed that Apple had
           16     employed Dr. Lamego to work on non-invasive physiological monitoring, something
           17     Plaintiffs’ letter had asserted would inevitably reveal their supposed trade secrets. In
           18     short, this suit was brought too late—though, to be clear, it would have failed no matter
           19     when it was brought. There was no misappropriation at any point in time.
           20            Fourth, having waived all damages theories—and more importantly, having
           21     failed on the merits—Plaintiffs have no basis for seeking an injunction. Even had
           22     Plaintiffs not utterly failed to prove liability, they have forfeited the right to seek
           23     injunctive relief—both under FRCP 37(c) (because Plaintiffs failed to disclose their
           24     theory and its supporting facts until October 2024) and because Plaintiffs had
           25     concededly sought billions of dollars in legal remedies but recently chose to abandon
           26     those claims. In any event, Plaintiffs cannot satisfy the traditional eBay test, not least
           27     because they have failed to identify a single, non-speculative theory of irreparable harm.
           28

Wilmer Cutler
Pickering Hale     APPLE’S POST-TRIAL BRIEF
and Dorr LLP
                                                              4            CASE NO. 8:20-cv-00048-JVS (JDEX)
                 Case 8:20-cv-00048-JVS-JDE       Document 2455-1     Filed 01/08/25   Page 12 of 58
                                                  Page ID #:204372

             1             Finally, Plaintiffs’ patent ownership/inventorship claims were a mere
             2    afterthought at trial and are as unsupported as the misappropriation claim. Plaintiffs
             3    abandoned one inventorship claim (                     ) and their remaining inventorship
             4    claims rely on the same flawed theory that an individual (here, Mr. Diab) qualifies as a
             5    co-inventor simply because he had prior art patents with related subject matter.
             6    Plaintiffs’ ownership claims fare no better, as the weight of the evidence—including
             7    testimony from several Apple engineers and Dr. Lamego himself—establishes that Dr.
             8    Lamego made his inventive contributions to the patents-in-suit while working for Apple.
             9             Plaintiffs have had two chances—and five years—to back up their spurious claims
           10     that Apple stole their supposed intellectual property. They have not come close to doing
           11     so. Apple respectfully requests that the Court deny these claims and bring this chapter
           12     of the lawsuit to a close.1
           13                                           ARGUMENT
           14     I.       PLAINTIFFS HAVE NOT REMOTELY MET THEIR BURDEN TO ESTABLISH
           15              TRADE SECRET MISAPPROPRIATION, THAT THE STATUTE OF LIMITATIONS
           16              DOES NOT APPLY, OR THAT AN INJUNCTION IS APPROPRIATE
           17              A.     None Of The Five Remaining Alleged Trade Secrets Was Possessed
           18                     By Plaintiffs, Qualifies As A Trade Secret Under CUTSA, Or Was
           19                     Misappropriated By Apple
           20              To establish misappropriation, Plaintiffs must prove by a preponderance of the
           21     evidence “(1) the existence and ownership of a trade secret and (2) misappropriation of
           22     the trade secret.” Dkt. 1275 at 3 (citing Cal. Civ. Code § 3426.1). “[T]o qualify as a
           23     trade secret, the information ‘must be secret, and must not be of public knowledge or of
           24     a general knowledge in the trade or business.’” DVD Copy Control Ass’n, Inc. v.
           25     Bunner, 116 Cal. App. 4th 241, 251 (2004) (citation omitted). Plaintiffs must also show
           26
           27     1
                    This brief provides an overview of the factual and legal flaws in Plaintiffs’ case. Those
           28     flaws are explained in greater detail in Apple’s simultaneously filed Proposed Post-Trial
                  Findings of Fact and Conclusions of Law.
Wilmer Cutler
Pickering Hale        APPLE’S POST-TRIAL BRIEF
and Dorr LLP
                                                              5            CASE NO. 8:20-cv-00048-JVS (JDEX)
                 Case 8:20-cv-00048-JVS-JDE        Document 2455-1     Filed 01/08/25   Page 13 of 58
                                                   Page ID #:204373

             1    that they possessed the information at issue, that it “derives independent economic value,
             2    actual or potential, from not being generally known to the public or to other persons who
             3    can obtain economic value from its disclosure or use,” and that it “is the subject of efforts
             4    that are reasonable under the circumstances to maintain its secrecy.” Dkt. 1275 at 4
             5    (citing Cal. Civ. Code § 3426.1(d)); see also Dkt. 1898 at 9 n.6 (“Plaintiffs bear the
             6    burden to demonstrate that [the purported trade secret] is not generally known”).
             7    Importantly, Plaintiffs’ own “written descriptions” of L4, L5, D1, D3, and D10 “provide
             8    the controlling definitions of the Asserted Trade Secrets in this case.” Dkt. 1715 at 27
             9    (Court’s Instruction No. 20).2
           10                     1.    Plaintiffs Have Not Shown L4 (                                      )
           11                           Is A Trade Secret Or That Apple Misappropriated It
           12
           13
           14
           15
           16
           17                                                            :
           18
           19
           20
           21
           22
           23
           24
           25
           26     2
                   Plaintiffs have long since waived the right to object to this fundamental rule of law, as
           27     Plaintiffs’ lead counsel agreed to this instruction during the April 2023 trial. See Dkt.
                  2345 at 4. In any event, this Court already rejected a motion for reconsideration
           28     challenging its holding that Plaintiffs are bound to the written description of their
                  purported secrets, Dkt. 1898 at 6-8.
Wilmer Cutler
Pickering Hale        APPLE’S POST-TRIAL BRIEF
and Dorr LLP
                                                               6             CASE NO. 8:20-cv-00048-JVS (JDEX)
                 Case 8:20-cv-00048-JVS-JDE          Document 2455-1    Filed 01/08/25    Page 14 of 58
                                                     Page ID #:204374

             1                          a.       Plaintiffs did not possess L4
             2             Plaintiffs failed to establish they possessed the
             3                                                       and therefore cannot prove possession of
             4    L4. See Dkt. 1715 at 33 (Court’s Instruction No. 24) (“Each Asserted Trade Secret must
             5    be analyzed as a whole.”). Dr. Madisetti conceded that he did not provide
             6
             7
             8
             9             On cross-examination, Dr. Madisetti sought to remedy this complete failure of
           10     proof by claiming for the first time “I rely on other witnesses like Mr. Diab and
           11     [Plaintiffs’] exhibits” to establish possession                           . See 11/7 AM Tr.
           12     [Madisetti] 9:23-10:2. But as Professor Warren confirmed, there was
           13
           14
           15
           16
           17              In fact, Plaintiffs’ own witnesses explained that
           18
           19
           20
           21
           22
           23
           24
           25
           26
           27
           28     3
                      Emphasis added unless noted.
Wilmer Cutler
Pickering Hale        APPLE’S POST-TRIAL BRIEF
and Dorr LLP
                                                                 7             CASE NO. 8:20-cv-00048-JVS (JDEX)
                 Case 8:20-cv-00048-JVS-JDE        Document 2455-1     Filed 01/08/25    Page 15 of 58
                                                   Page ID #:204375

             1             In sum, Plaintiffs failed to prove they possessed L4 as they chose to define it.
             2    That should be the end of the inquiry. See Dkt. 1898 at 7-8 (“[A] trade secret plaintiff
             3    may not modify its trade secret disclosures … when a case goes to trial.”); cf. Dkt. 1901
             4    at 5 (declining to grant JMOL on possession of L4 because of
             5
             6
             7                    b.    Plaintiffs have failed to show L4 was not generally known
             8                         i.   L4 as possessed by Plaintiffs was generally known
             9             Plaintiffs failed to meet their burden to establish
           10                 recited by L4 were not generally known years before Apple hired Dr. Lamego.
           11     The evidence confirms that they were.
           12              Tellingly, Plaintiffs did not offer a witness who assessed public and industry
           13     knowledge of L4, and instead relied almost entirely on Dr. Madisetti. But Dr. Madisetti
           14     considered only the references that Apple’s witness (Professor Warren) identified and—
           15     even then—addressed them only in two conclusory charts that provided no detail beyond
           16     the word “NO” or the letter “X” next to the name of each reference. See Madisetti Direct
           17     ¶ 123.4 He thus did not conduct the kind of “survey of literature or other research” that
           18     is required for a plaintiff to prove that its alleged trade secret is in fact secret. Atmel
           19     Corp. v. Info. Storage Devices, Inc., 189 F.R.D. 410, 416 (N.D. Cal. 1999). Nor did Mr.
           20     Diab, Plaintiffs’ primary fact witness on L4. Mr. Diab admitted that, when it comes to
           21     what is “publicly known” about how
           22                                                                    he “ha[s] no idea what is out
           23     there.” 11/5 PM Tr. [Diab] 65:13-25; see also 11/5 AM Tr. [Kiani] 112:3-11 (stating, in
           24     response to a similar inquiry, “I don’t know. I didn’t work at Nellcor.”).
           25
           26     4
                   Dr. Madisetti’s assertion that his direct testimony presented only unreasoned charts
           27     because he was “not sure which references Apple would rely upon” (11/7 AM Tr. 19:25-
                  20:10) is not credible. See Madisetti Direct ¶ 123. Apple’s 2023 FRCP 50(b) brief relied
           28     on Petersen and Webster to show L4 was generally known. See Dkt. 1765 at 6. Plaintiffs
                  moreover put on no rebuttal evidence from Dr. Madisetti. See 11/13 Tr. 141:14-15.
Wilmer Cutler
Pickering Hale        APPLE’S POST-TRIAL BRIEF
and Dorr LLP
                                                               8            CASE NO. 8:20-cv-00048-JVS (JDEX)
                 Case 8:20-cv-00048-JVS-JDE     Document 2455-1     Filed 01/08/25   Page 16 of 58
                                                Page ID #:204376

             1          When confronted on cross examination, Plaintiffs conceded the concepts claimed
             2    by L4 were publicly disclosed in patents filed by Nellcor—Plaintiffs’ chief competitor—
             3    and Masimo itself. See Dkt. 2345 at 6-7 (collecting admissions).
             4
             5
             6
             7
             8
             9
           10
           11
           12
           13
           14
           15
           16
           17
           18
           19
           20
           21           And none of this was a secret even before the Nellcor patent.
           22
           23                                                              For example, it is discussed in
           24     a 1997 textbook (“Webster,” JTX-3887) that Professor Warren described as a “seminal
           25     resource in the field of pulse oximetry” and uses in his own classes. Warren Direct ¶ 29.
           26     Webster teaches that optical sensor designers should aim “‘[t]o minimize errors’” from
           27     light piping “‘through thoughtful LED/photodiode placement,’” “‘light impervious
           28     barriers,’” “‘coat[ings on] the housing around the photodiode’” and other “changes to

Wilmer Cutler
Pickering Hale     APPLE’S POST-TRIAL BRIEF
and Dorr LLP
                                                             9           CASE NO. 8:20-cv-00048-JVS (JDEX)
                 Case 8:20-cv-00048-JVS-JDE        Document 2455-1     Filed 01/08/25    Page 17 of 58
                                                   Page ID #:204377

             1    physical characteristics of an optical sensor.” Id. ¶ 51 (quoting JTX-3887 at -583).
             2
             3
             4
             5             Moreover, Mr. Diab confirmed that multiple of Masimo’s own patents disclose
             6
             7
             8
             9                    This concession about Plaintiffs’ own patents is particularly notable to the
           10     generally known inquiry, as “evidence of how the owner of an alleged trade secret …
           11     treat[s] that information is relevant to whether the information is generally known.”
           12     Masimo Corp. v. True Wearables, Inc., 2022 WL 205485, at *2 (Fed. Cir. Jan. 24, 2022).
           13              Unable to credibly dispute the numerous disclosures of
           14                                       Plaintiffs tried to suggest
           15
           16
           17                                                                            Neither is true.
           18
           19
           20                                                                           And while a purported
           21     trade secret need not be disclosed by a single reference to be generally known, see Dkt.
           22     1284 at 5-6, Nellcor’s Petersen patent filed in 2008 does exactly that. See Warren Direct
           23     ¶¶ 41-56; Ultimax Cement Mfg. Corp. v. CTS Cement Mfg. Corp., 587 F.3d 1339, 1355
           24
           25
           26     5
                   Plaintiffs’ questioning of Professor Warren implied that there is a legal requirement for
           27     a defense expert to quantify how many people have seen each cited reference to disprove
                  Plaintiffs’ not-generally-known assertions. See, e.g., 11/13 Tr. [Warren] 35:8-37:12.
           28     The Court rejected this burden-shifting argument at the Daubert stage. See Dkt. 1284
                  at 6.
Wilmer Cutler
Pickering Hale        APPLE’S POST-TRIAL BRIEF
and Dorr LLP
                                                               10           CASE NO. 8:20-cv-00048-JVS (JDEX)
                 Case 8:20-cv-00048-JVS-JDE         Document 2455-1     Filed 01/08/25   Page 18 of 58
                                                    Page ID #:204378

             1    (Fed. Cir. 2009) (“disclosure of a trade secret in a patent places the information
             2    comprising the secret into the public domain,” so that “the trade secret is extinguished”).
             3             Petersen discloses how to
             4
             5
             6
                           6
             7                 Specifically, Petersen discloses a use of a “tissue phantom” or “false finger …
             8    made of black foam or… plastic” to
             9
           10
           11
           12
           13
           14
           15
           16
           17
           18
           19
           20
           21
           22
           23              Petersen also teaches reducing

           24
           25
           26
           27
                  6
           28      Plaintiffs failed to prove (or even present evidence to show) that the “increasing the
                  modulation frequency to higher than 100 Hz” portion of L4 is not generally known.
Wilmer Cutler
Pickering Hale        APPLE’S POST-TRIAL BRIEF
and Dorr LLP
                                                                11           CASE NO. 8:20-cv-00048-JVS (JDEX)
                 Case 8:20-cv-00048-JVS-JDE       Document 2455-1     Filed 01/08/25   Page 19 of 58
                                                  Page ID #:204379
             1

             2    Plaintiffs have failed to provide any evidence other than conclusory say-so (e.g., Dr.
             3    Madisetti’s “NOs”) to rebut the plain language of Petersen or Professor Warren’s
             4    opinion that Petersen discloses all that Plaintiffs possessed of L4. AF-C ¶ 57.
             5                     ii.   Plaintiffs cannot meet their burden by unilaterally
             6                           narrowing L4
             7          Unable to seriously dispute that the principles recited in L4 (as possessed and
             8    written by Plaintiffs) were generally known decades before Dr. Lamego’s brief
             9    employment by Apple, Mr. Kiani, Mr. Diab, and Dr. Madisetti each tried to read
           10     requirements into L4’s broad language, thereby changing the scope of the alleged trade
           11     secret during the trial. This Court rejected precisely the same tactic in dismissing
           12     Plaintiffs’ purported business trade secrets at the conclusion of the April 2023 trial, as
           13     “testimony suggesting there is something more hidden behind [a purported trade secret]
           14     as defined by Plaintiffs cannot save it from being generally known as it was disclosed in
           15     this case.” Dkt. 1898 at 9 (quoting Dkt. 1723 at 7).
           16           In particular, all three of Plaintiffs’ witnesses on L4 sought to narrow the
           17     purported secret’s (in Mr. Kiani’s words)
           18
           19
           20
           21           Mr. Kiani, Mr. Diab, and Dr. Madisetti also read myriad other limitations into L4.
           22     For example, Dr. Madisetti asserted that L4 included
           23
           24
           25                                 But as Dr. Madisetti conceded, the text of L4 includes none of
           26     those requirements. Id.
           27                                                                 Similarly, Mr. Diab and Mr.
           28     Kiani claimed, respectively, that L4 includes

Wilmer Cutler
Pickering Hale     APPLE’S POST-TRIAL BRIEF
and Dorr LLP
                                                              12           CASE NO. 8:20-cv-00048-JVS (JDEX)
                 Case 8:20-cv-00048-JVS-JDE      Document 2455-1      Filed 01/08/25   Page 20 of 58
                                                 Page ID #:204380
             1
             2

             3                                                              But again, both witnesses were
             4    forced to agree that L4 “doesn’t say” anything that would impose such specific
             5    requirements. See 11/5 AM Tr. [Kiani] 108:9-25; see also 11/5 PM Tr. [Diab] 61:2-23
             6    (similar).
             7          Plaintiffs’ witnesses diverged from the text of L4 for an obvious and
             8    impermissible reason: “If a trade secret is written so broadly as to sweep in some
             9    concepts that are generally known and some that are not, as a whole, it cannot be a trade
           10     secret.” Dkt. 1898 at 9 n.7. As the above makes clear, the plain text of L4 sweeps in
           11     concepts that were so broadly known, they appeared in nearly 30-year-old patents
           12     (including one filed by Plaintiffs’ key competitor).
           13           Plaintiffs’ inconsistency on the scope of L4 is itself an independent basis to deny
           14     relief. A trade secret plaintiff must “describe the subject matter of the trade secret with
           15     sufficient particularity to separate it from matters of general knowledge in the trade or
           16     of special knowledge of those persons … skilled in the trade.” Imax Corp. v. Cinema
           17     Techs., Inc., 152 F.3d 1161, 1164-1165 (9th Cir. 1998) (granting summary judgment on
           18     particularity); Altavion, Inc. v. Konica Minolta Sys. Lab’y Inc., 226 Cal. App. 4th 26, 43
           19     (2014) (granting summary judgment on particularity); see also Olaplex, Inc. v. L’Oreal
           20     USA, Inc., 855 F. App’x 701, 712 (Fed. Cir. 2021) (JMOL on particularity).
           21           Here, Plaintiffs have tried to exploit arguable ambiguity in the purported trade
           22     secret they drafted in two improper ways. First, while Plaintiffs wrote L4 to include
           23
           24
           25
           26
           27
           28                                                                                               .

Wilmer Cutler
Pickering Hale     APPLE’S POST-TRIAL BRIEF
and Dorr LLP
                                                             13            CASE NO. 8:20-cv-00048-JVS (JDEX)
                 Case 8:20-cv-00048-JVS-JDE       Document 2455-1       Filed 01/08/25   Page 21 of 58
                                                  Page ID #:204381

             1    See supra pp. 12-13 (discussing testimony from Kiani, Diab, and Madisetti). Under both
             2    lines of argument, Plaintiffs’ written description of L4 fails to “clearly refer to tangible
             3    trade secret material” and instead referred to a broad array of information that only
             4    “potentially qualifies for trade secret protection.” Imax, 152 F.3d at 1167 (plaintiff that
             5    broadly claimed all “dimensions and tolerances” of its projector system failed to identify
             6    a trade secret with the requisite particularity).
             7                 c.     Plaintiffs did not take reasonable efforts to maintain the secrecy
             8                        of L4 as they possessed it
             9          As discussed above, Mr. Diab conceded that Plaintiffs’ own patents disclosed
           10     various
           11
           12                           Mr. Diab’s testimony (and the Masimo patents it cites) runs directly
           13     contrary to Plaintiffs’ assertions that they made “efforts that [we]re reasonable under the
           14     circumstances to maintain [L4’s] secrecy.” Cal. Civ. Code § 3426.1(d)(2). Whether
           15     Plaintiffs employed various general protocols to prevent unauthorized dissemination of
           16     their engineers’ ideas (e.g., securely archiving unused lab notebooks) can only take them
           17     so far. After all, a plaintiff’s own decision to “disclos[e] … a trade secret in a patent
           18     application extinguishes the information’s trade secret status” and precludes the plaintiff
           19     from “assert[ing] a [trade secret] claim relating to the patented information,” Attia v.
           20     Google LLC, 983 F.3d 420, 426 (9th Cir. 2020). If information placed in a public patent
           21     is not a secret, a trade secret plaintiff who makes a voluntary decision to include such
           22     information in a patent application cannot possibly be said to have taken reasonable
           23     efforts to protect the secrecy of that information.
           24                         d.      Apple did not misappropriate L4
           25           There is no evidence that Dr. Lamego played any role in
           26
           27                                                                                               it
           28     necessarily did not misappropriate that test (or L4 as a whole) from Plaintiffs. With L4

Wilmer Cutler
Pickering Hale     APPLE’S POST-TRIAL BRIEF
and Dorr LLP
                                                               14            CASE NO. 8:20-cv-00048-JVS (JDEX)
                 Case 8:20-cv-00048-JVS-JDE     Document 2455-1      Filed 01/08/25   Page 22 of 58
                                                Page ID #:204382

             1    as with all the other alleged trade secrets, there is no evidence of a thread running from
             2    an actual secret possessed by Plaintiffs, through Dr. Lamego, to Apple.
             3          First, the trial record establishes that Apple independently developed the accused
             4    black foam test before Apple hired Dr. Lamego. See Sargent Fletcher v. Able Corp.,
             5    110 Cal. App. 4th 1658, 1666-1669, 1675 (2003) (plaintiff has burden to disprove
             6    independent development). For years before Dr. Lamego arrived,
             7
             8
             9
           10
           11
           12
           13
           14
           15
           16
           17           It should be no surprise that Apple
           18
           19
           20
           21
           22
           23
           24
           25
           26
           27
           28

Wilmer Cutler
Pickering Hale     APPLE’S POST-TRIAL BRIEF
and Dorr LLP
                                                              15          CASE NO. 8:20-cv-00048-JVS (JDEX)
                 Case 8:20-cv-00048-JVS-JDE       Document 2455-1     Filed 01/08/25   Page 23 of 58
                                                  Page ID #:204383
             1
             2
             3
             4
             5
             6
             7
             8
             9

           10
           11
           12
                           As of November 2013, the only question that Apple had not decided was
           13
           14
           15
           16
                           Plaintiffs cannot dispute that Apple possessed the L4 test as they defined it, so
           17
                  they have pivoted to
           18
           19
           20
           21
           22
                           Regardless,
           23
           24
           25
           26     7
                    Plaintiffs could not establish misappropriation-by-acquisition liability even if Dr.
           27     Lamego had taught Apple L4, because Plaintiffs have not advanced any theory (let alone
                  proof) that they were or could be harmed solely by Apple’s purported acquisition of
           28                                See Waymo LLC v. Uber Techs., Inc., 2018 WL 466510, at *3
                  (N.D. Cal. Jan. 18, 2018); see also AF-C ¶ 320.
Wilmer Cutler
Pickering Hale        APPLE’S POST-TRIAL BRIEF
and Dorr LLP
                                                              16           CASE NO. 8:20-cv-00048-JVS (JDEX)
                 Case 8:20-cv-00048-JVS-JDE       Document 2455-1      Filed 01/08/25   Page 24 of 58
                                                  Page ID #:204384
             1

             2               There is zero evidence Dr. Lamego had anything to do with this decision. To
             3    the contrary, as Brian Land—manager of the team responsible for designing the optical
             4    sensor—testified, Dr. Lamego contributed “nothing” to
             5
             6
             7
             8
             9             Plaintiffs have not identified a single document authored by Dr. Lamego using
           10
           11                     Plaintiffs have instead pointed to just two documents they claim connect
           12     Dr. Lamego to                                    But neither provides any support for their
           13     position. The first is an email sent to Dr. Lamego and 38 other Apple employees,
           14                                                                 Even Plaintiffs’ expert witness
           15     conceded that the email lacks any indication that Lamego contributed to either the
           16     attached presentation or the specific change Plaintiffs accused. See 11/7 AM Tr.
           17     [Madisetti] 31:1-13. The only other document Plaintiffs identify (and the sole document
           18     authored by Dr. Lamego) is a list of suggestions Dr. Lamego wrote after joining Apple
           19     that references
           20
           21
           22
           23
           24
           25
           26     8
                      One iteration of
           27
           28

Wilmer Cutler
Pickering Hale        APPLE’S POST-TRIAL BRIEF
and Dorr LLP
                                                              17            CASE NO. 8:20-cv-00048-JVS (JDEX)
                 Case 8:20-cv-00048-JVS-JDE     Document 2455-1       Filed 01/08/25   Page 25 of 58
                                                Page ID #:204385
             1
             2
             3
             4
             5
             6

             7           This is consistent with general engineering usage—even Masimo’s own patent
             8    uses the term “photodiode detector shielding” in the same manner as Mr. Land—i.e., to
             9    refer to “shield[ing] a photodiode detector from electromagnetic interference and
           10     ambient light.” JTX-3707 at 1; see also Warren Direct ¶ 76.
           11            Second, there is no evidence that Apple
           12                                                                                a requirement
           13     of L4. To the contrary, all evidence points in one direction: The results of
           14
           15
           16
           17
           18
           19
           20
           21            Plaintiffs’ primary response is that Apple
           22                                                                                           But
           23     this is pure ipse dixit.
           24
           25
           26
           27
           28

Wilmer Cutler
Pickering Hale     APPLE’S POST-TRIAL BRIEF
and Dorr LLP
                                                            18             CASE NO. 8:20-cv-00048-JVS (JDEX)
                 Case 8:20-cv-00048-JVS-JDE       Document 2455-1    Filed 01/08/25   Page 26 of 58
                                                  Page ID #:204386
             1
             2
             3
             4
             5

             6                 2.      Plaintiffs Have Not Shown L5 (The Accused Short Circuit) Is A
             7                         Trade Secret Or That Apple Misappropriated It
             8          L5 identifies a
             9
           10
           11
           12
           13
           14
                                       a.     Plaintiffs did not possess and cannot permissibly claim
           15
                                              every solution to a known problem
           16
                        L5’s plain text claims
           17
                                                         In view of this extremely broad scope, Plaintiffs
           18
                  have not met their burden to prove the possession and particularity requirements for L5.
           19
                        First, this Court previously held “the idea claimed in L5 [to be] sufficiently
           20
                  particular to let the possession question go to the jury” precisely because the Court
           21
                  accepted Plaintiffs’ representation that L5 “does not claim every solution to”
           22
                                                              Dkt. 1901 at 8; see also id. at 8 (noting that
           23
                  Plaintiffs did not “claim every undisclosed possible solution to the problem”). At the
           24
                  November 2024 retrial, Dr. Madisetti directly contradicted Plaintiffs’ prior
           25
                  representation, in response to questioning from this Court—with Dr. Madisetti
           26
                  contending that L5
           27
           28

Wilmer Cutler
Pickering Hale     APPLE’S POST-TRIAL BRIEF
and Dorr LLP
                                                             19           CASE NO. 8:20-cv-00048-JVS (JDEX)
                 Case 8:20-cv-00048-JVS-JDE      Document 2455-1      Filed 01/08/25   Page 27 of 58
                                                 Page ID #:204387
             1
             2

             3          L5 therefore fails to meet the requirement that a purported trade secret must be
             4    identified with sufficient particularity. See Imax, 152 F.3d at 1164-1167. A trade secret
             5    plaintiff cannot permissibly claim ownership of “broad swaths of solutions to general
             6    [engineering problems]” because such an approach would “allow monopolization of
             7    broad scientific or engineering concepts and principles.” Waymo LLC v. Uber Techs.,
             8    Inc., 2017 WL 2123560, at *7 (N.D. Cal. May 15, 2017). And Plaintiffs cannot possibly
             9    have described their alleged trade secret with the required level of particularity, if they
           10     are purporting to claim solutions to the L5 problem that they are unaware of or—
           11     worse—that no one has yet invented.
           12           Second, Plaintiffs cannot possibly show possession of every potential solution to
           13                                                     —especially those that have not yet been
           14     invented. To the contrary, as Plaintiffs’ own engineers admitted at trial, Plaintiffs
           15     possessed a single solution to the L5 problem:
           16
           17
           18
           19
           20
           21                                                                              Plaintiffs cannot
           22     meet their burden to show possession of L5 “as a whole” based on just one solution—
           23     one which this Court’s questioning of Dr. Madisetti confirmed
           24
           25
           26
           27           In yet another effort to find a connecting thread where none exists, Plaintiffs’
           28     witnesses discussed

Wilmer Cutler
Pickering Hale     APPLE’S POST-TRIAL BRIEF
and Dorr LLP
                                                             20            CASE NO. 8:20-cv-00048-JVS (JDEX)
                 Case 8:20-cv-00048-JVS-JDE          Document 2455-1     Filed 01/08/25   Page 28 of 58
                                                     Page ID #:204388
             1
             2
             3
             4
             5
             6
             7
             8
             9

           10
           11
           12
           13
           14                           b.       The elements of L5 that Plaintiffs possessed were
           15                                    generally known.
           16              While Plaintiffs’ engineers may not have themselves identified the
           17
           18                                                        In particular, Professor Warren identified
           19     references from as early as 1973 showing that
           20
           21
           22
           23
           24
           25
           26                                                                                                 .
           27
           28     9
                      This patent was admitted as JTX-4233 and JTX-3003. Apple uses JTX-4233 herein.
Wilmer Cutler
Pickering Hale        APPLE’S POST-TRIAL BRIEF
and Dorr LLP
                                                                21            CASE NO. 8:20-cv-00048-JVS (JDEX)
                 Case 8:20-cv-00048-JVS-JDE        Document 2455-1      Filed 01/08/25   Page 29 of 58
                                                   Page ID #:204389
             1
             2

             3             Even though Plaintiffs “bear the burden to demonstrate that [L5] is not generally
             4    known,” Dkt. 1898 at 9 n.6, Dr. Madisetti baldly asserted that “mark[ing] ‘NO’ in [a]
             5    chart[]” to argue that the Mims, Roedel, and Webster references do not disclose L5; this
             6    was not enough to establish that L5 was not generally known. Madisetti Direct ¶¶ 167-
             7    168.10     But an “expert’s conclusory testimony, without further explanation, is
             8    insufficient to meet [a plaintiff’s] burden of production,” e.g., Moore v. Robinson Oil
             9    Corp., 588 F. App’x 528, 530 (9th Cir. 2014), let alone to satisfy Plaintiffs’ burden to
           10     prove that L5 was not generally known. Dr. Madisetti apparently made no effort to
           11     investigate whether L5 was generally known, relying instead “on testimony from Dalke
           12     and others” about
           13
           14                                But relying on the subjective impressions of employees from a
           15     single company— rather than taking steps to “determine[e] … what others in the
           16     industry generally knew”—amounts to an unacceptable “ignorance-is-bliss strategy”
           17     that is “inadequate” evidence of “what was ‘generally known.’” Atmel, 189 F.R.D. at
           18     416. Again, Plaintiffs cannot meet their burden by asking their expert to put his head in
           19     the sand. See id.; see also supra p. 8.
           20                    c.     Plaintiffs did not take reasonable efforts to preserve the secrecy
           21                           of L5 as they possessed it
           22              Plaintiffs also failed to meet their burden to prove they took reasonable efforts to
           23     keep L5 secret. Regardless of whether Plaintiffs took steps that—as a general matter—
           24     were intended to keep their information confidential, cf. Madisetti Direct ¶ 163, is
           25     irrelevant because Plaintiffs made no effort to preserve the secrecy of L5 in particular.
           26
           27     10
                    Again, Dr. Madisetti’s failure to address the Mims, Roedel, and Webster references in
           28     his direct testimony is fatal, particularly because Apple’s 2023 FRCP 50(b) brief relied
                  on all three to show that L5 was generally known, see Dkt. 1765 at 9; supra n.4.
Wilmer Cutler
Pickering Hale     APPLE’S POST-TRIAL BRIEF
and Dorr LLP
                                                                22           CASE NO. 8:20-cv-00048-JVS (JDEX)
                 Case 8:20-cv-00048-JVS-JDE      Document 2455-1     Filed 01/08/25    Page 30 of 58
                                                 Page ID #:204390

             1    Plaintiffs published the concepts of L5 in a patent. See JTX-4233 at 16:40-43, Fig. 8;
             2    Warren Direct ¶¶ 121-125; supra p. 14. Even more notably,
             3
             4
             5
             6
             7                     Plaintiffs cannot establish they took reasonable efforts to keep L5 secret
             8    if its alleged inventor concedes they did not.
             9                        d.      Apple did not misappropriate L5
           10           Even under Plaintiffs’ theory that they possessed a protectable trade secret in their
           11                                                                             Plaintiffs failed to
           12     prove that Apple improperly acquired, used, or disclosed that concept.
           13           First, Apple did not acquire (much less improperly acquire) through Dr. Lamego
           14     the narrow version of L5 that Plaintiffs actually possessed.11 Plaintiffs do not contend—
           15     nor does the evidence show—that Dr. Lamego
           16
           17
           18
           19
           20
           21
           22
           23
           24
           25
           26     11
                     Plaintiffs could not establish misappropriation-by-acquisition liability even if Dr.
           27     Lamego had conveyed their L5 solution to Apple, because Plaintiffs have not advanced
                  any theory (let alone proof) that they were or could be harmed solely by Apple’s
           28     purported acquisition of their L5 solution. See Waymo, 2018 WL 466510, at *3; see
                  also AF-C ¶ 343.
Wilmer Cutler
Pickering Hale     APPLE’S POST-TRIAL BRIEF
and Dorr LLP
                                                             23            CASE NO. 8:20-cv-00048-JVS (JDEX)
                 Case 8:20-cv-00048-JVS-JDE     Document 2455-1     Filed 01/08/25    Page 31 of 58
                                                Page ID #:204391

             1                          ;
             2
             3          Second, Apple has never used L5 in Apple Watch.
             4
             5
             6
             7
             8
             9
           10           In any event, Plaintiffs failed to prove that Apple implemented
           11                                                                        and for good reason—
           12     Apple Watch never had that problem. See 11/13 Tr. [Block] 18:18-20, id. [Warren]
           13     56:22-25, 129:12-14, 130:20-131:7.      Rather, as Apple’s engineers and the final
           14     documentation for the chip that includes the accused circuit confirms, Apple added
           15
           16
           17
           18
           19
           20
           21
           22
           23     12
                     Plaintiffs rely on references to “           in a draft engineering requirements
           24     specification, see 11/13 Tr. [Warren] 65:16-67:15 (discussing JTX-1142), and an email
                  about a non-final ASIC design, see id. at 52:23-56:17 (discussing JTX-541). But as
           25     Professor Warren’s unrebutted testimony reflects, none refers to
                  and—in any event—that design was not used. Id. at 65:25-66:16, 129:25-130:17.
           26     13

           27
           28

Wilmer Cutler
Pickering Hale     APPLE’S POST-TRIAL BRIEF
and Dorr LLP
                                                            24           CASE NO. 8:20-cv-00048-JVS (JDEX)
                 Case 8:20-cv-00048-JVS-JDE     Document 2455-1     Filed 01/08/25   Page 32 of 58
                                                Page ID #:204392

             1          As Professor Warren summarized,
             2
             3
             4
             5
             6
             7
             8
             9
           10
           11
           12     11/13 Tr. [Warren] 132:9-14; DDX-6.22.
           13           Third, contrary to Plaintiffs’ allegations, Apple did not disclose L5 to
           14     or any other third party. Plaintiffs’ disclosure theory relies on an Apple Engineering

           15     Requirement Specifications document discussing the                    issue and a single

           16     email among Apple engineers that refers to a non-final design for a certain kind of
           17     specialized chip (called an ASIC) that was never implemented in the Specifications or
           18     any Apple product. See PF-C [FOF] ¶¶ 273-275. None of those documents addresses
           19     the L5 problem (which Apple Watch did not have) nor refers to
           20
           21                  3.    Plaintiffs Have Not Shown D1, D3, D10 (The Rejected

           22                        Demodulation Proposal) Are Trade Secrets Or That Apple

           23                        Misappropriated Them

           24           Plaintiffs allege that Dr. Lamego conveyed D1, D3, and D10 to Apple

           25
           26
           27
           28

Wilmer Cutler
Pickering Hale     APPLE’S POST-TRIAL BRIEF
and Dorr LLP
                                                            25           CASE NO. 8:20-cv-00048-JVS (JDEX)
                 Case 8:20-cv-00048-JVS-JDE       Document 2455-1    Filed 01/08/25     Page 33 of 58
                                                  Page ID #:204393

             1                       a.       Plaintiffs did not possess D1, D3, or D10
             2          Plaintiffs have not established that any product, document, or combination thereof
             3    includes all elements of D1, D3, or D10. First, with respect to D1, Plaintiffs rely on
             4    information distributed over five pieces of evidence—
             5                                                                to demonstrate possession. See
             6    AF-C ¶¶ 159-163, 351. But neither                                                  establish
             7    that Plaintiffs possessed the aspects of D1 that require
             8
             9
           10
           11
           12
           13
           14
           15                                                                                      Plaintiffs’
           16     argument is inconsistent with Dr. Madisetti’s testimony about whether D1 is not
           17     generally known, in which he argues that prior public disclosures of a
           18
           19
           20
           21
           22
           23
           24
           25
           26           Second, Plaintiffs’ evidence for possession of D3 is similarly deficient. None of
           27     the documents Plaintiffs rely upon demonstrates Plaintiffs possessed
           28

Wilmer Cutler
Pickering Hale     APPLE’S POST-TRIAL BRIEF
and Dorr LLP
                                                             26              CASE NO. 8:20-cv-00048-JVS (JDEX)
                 Case 8:20-cv-00048-JVS-JDE       Document 2455-1      Filed 01/08/25   Page 34 of 58
                                                  Page ID #:204394

             1                                                                  Most significantly, the pages
             2    from Mr. Poeze’s lab notebook (JTX-832 at -907 and -935) that Plaintiffs have relied
             3    upon to show the                                 do not actually disclose it. Mr. Poeze has
             4    admitted that
             5
             6
             7
             8
             9
           10     Again, Plaintiffs do not try to reconcile their contention that this vague reference suffices
           11     for possession with Dr. Madisetti’s “generally known” opinion that a prior reference to
           12                                                                        —the two positions are
           13     irreconcilable. See Sarrafzadeh Direct ¶¶ 63, 106, 122-124; Madisetti Direct ¶¶ 176,
           14     180, 203, 209.
           15           Third, as to D10, Plaintiffs’
           16
           17
           18
           19
           20
           21
           22
           23
           24
           25
           26
           27
           28

Wilmer Cutler
Pickering Hale     APPLE’S POST-TRIAL BRIEF
and Dorr LLP
                                                              27            CASE NO. 8:20-cv-00048-JVS (JDEX)
                 Case 8:20-cv-00048-JVS-JDE       Document 2455-1     Filed 01/08/25    Page 35 of 58
                                                  Page ID #:204395

             1          Finally, and more broadly, Dr. Madisetti’s repeated assertion that possession can
             2    be proven by considering evidence scattered throughout a collection of references, e.g.
             3    Madisetti Direct ¶¶ 176-183, is flatly inconsistent with his position that whether a
             4    purported secret is “generally known” is assessed based on whether it is embodied in a
             5    single reference, see, e.g., id. ¶ 198; see also 11/7 AM Tr. [Madisetti] 61:5-17 (Dr.
             6    Madisetti conceding that while he had criticized Apple’s witness for “drawing on
             7    multiple sources of evidence to establish generally known,” Dr. Madisetti was “relying
             8    on multiple sources of information” to show possession of D1 and D3). The references
             9    Dr. Sarrafzadeh used to prove that D1 and D3 are generally known are—like Dr.
           10     Madisetti’s supposed evidence of possession—Plaintiffs’ own documents and projects,
           11     created by the “same people” and related to the “same project.” 11/7 AM Tr. [Madisetti]
           12     61:17; see also 11/12 AM Tr. [Sarrafzadeh] 60:1-6; AF-C ¶¶ 165-170, 193-196 (citing
           13     Plaintiffs’ patent filings).    This logical inconsistency—and Plaintiffs’ failure to
           14     meaningfully reconcile their approach to possession with their approach to “generally
           15     known”—undermines Dr. Madisetti’s credibility on possession and makes clear that
           16     Plaintiffs’ case is not grounded in a consistent interpretation of trade secret law.
           17                         b.      Plaintiffs failed to prove that at least D1 and D3 are not
           18                                 generally known or that Plaintiffs treated them as trade
           19                                 secrets before this litigation
           20           Plaintiffs have not met their burden to show that at least D1 and D3 are not
           21     generally known. As a threshold matter, Dr. Madisetti’s failure to conduct a literature
           22     search before providing an opinion on the “generally known” issue renders that opinion
           23     facially deficient. See Atmel, 189 F.R.D. at 416. In any event, the evidence shows that
           24     D1 and D3 were generally known at the time that Apple received and rejected Dr.
           25     Lamego’s demodulation proposal.
           26           Dr. Sarrafzadeh explained that Masimo’s own Weber 2018 patent discloses any
           27     elements of D1 that Plaintiffs possessed. See 11/12 AM Tr. [Sarrafzadeh] 12:7-9, 64:15-
           28     65:24; AF-C ¶¶ 165-168. Even Dr. Madisetti does not dispute that Weber 2018 fully

Wilmer Cutler
Pickering Hale     APPLE’S POST-TRIAL BRIEF
and Dorr LLP
                                                              28           CASE NO. 8:20-cv-00048-JVS (JDEX)
                 Case 8:20-cv-00048-JVS-JDE       Document 2455-1       Filed 01/08/25   Page 36 of 58
                                                  Page ID #:204396

             1    discloses D1—his only ground for distinction was that it issued after Dr. Lamego had
             2    purportedly conveyed D1 to Apple. See Madisetti Direct ¶ 202. Plaintiffs, however,
             3    have not identified any theory of harm from Apple’s supposed use or disclosure of D1
             4    that occurred prior to 2018. For example, the
             5                                                      and Apple Watch’s Blood Oxygen feature
             6    (which Plaintiffs wrongly claim has a connection to D1) was not launched until 2020.
             7    See JTX-1262; Land Direct ¶ 81. Plaintiffs have no explanation for why they can seek
             8    forward-looking relief like an injunction over a concept that they voluntarily put in the
             9    public domain six years ago.14
           10           Moreover, if Dr. Madisetti is right that disclosures of
           11
           12
           13                                 At trial, Plaintiffs offered no testimony that could explain how
           14                                               can have expansive definitions when it comes to
           15     proving Plaintiffs’ possession but narrow definitions when it comes to interpreting
           16     Plaintiffs’ prior public disclosures in patent filings. 11/12 AM Tr. [Sarrafzadeh] 67:4-
           17     68:10 (discussing this discrepancy in Plaintiffs’ case).
           18           To the extent Plaintiffs possessed D3, it too was generally known. If this Court
           19     credits Plaintiffs’ assertion that the page from Mr. Poeze’s notebook discloses
           20
           21
           22            In any event, D3 is clearly disclosed by Poeze 2011 when considered in
           23     combination with Weber 2005 and Lamego 2011
           24
           25
           26     14
                     Plaintiffs implied during cross-examination that Dr. Sarrafzadeh’s position that
           27     Plaintiffs did not possess D1 was inconsistent with his “generally known” analysis. See
                  11/12 AM Tr. [Sarrafzadeh] 12:3-13:20. But Plaintiffs never argued that Weber 2018
           28     establishes possession of D1 and, in any event, it was published and therefore not secret.
                  Sarrafzadeh Direct ¶¶ 67-72; 11/12 AM Tr. [Sarrafzadeh] 12:3-13:20, 64:15-67:3.
Wilmer Cutler
Pickering Hale     APPLE’S POST-TRIAL BRIEF
and Dorr LLP
                                                               29            CASE NO. 8:20-cv-00048-JVS (JDEX)
                 Case 8:20-cv-00048-JVS-JDE      Document 2455-1     Filed 01/08/25   Page 37 of 58
                                                 Page ID #:204397

             1          More broadly, Plaintiffs’ decision to disclose the concepts claimed in D1 and D3
             2    in their own patents should be fatal to their claim that they have made reasonable efforts
             3    to preserve secrecy of the purported secrets. See supra p. 14; cf. Attia, 983 F.3d at 426.
             4                       c.       Apple did not misappropriate D1, D3, or D10, none of
             5                                which is used in Apple Watch
             6          Even if D1, D3, or D10 could qualify as protectable trade secrets (they cannot),
             7    Apple did not misappropriate any of them. First, it is undisputed that Apple has never
             8    used any of these purported secrets in Apple Watch. See Madisetti Direct ¶¶ 205; AF-C
             9    ¶¶ 157, 236, 368, 386, 394. There is no evidence that Apple Watch’s technology
           10     changed in any way after Apple’s engineers rejected Dr. Lamego’s demodulation
           11     proposal, let alone that anything used in Apple Watch is “substantially derived” from
           12     Dr. Lamego’s suggestion. SkinMedica, Inc. v. Histogen Inc., 869 F.Supp.2d 1176, 1197
           13     (S.D. Cal. 2012) (defining scope of “use” for purposes of trade secret law); see also
           14     Sarrafzadeh Direct ¶¶ 28-32, 76-86, 89. Nor is there any dispute that (1) prior to Dr.
           15     Lamego’s six-month tenure at Apple, Dr. Steve Waydo and his colleagues independently
           16     developed a demodulation technique known as DCS or (2) Apple has used DCS to
           17     address all ambient light rejection issues since before Dr. Lamego began working Apple.
           18     See Waydo Direct ¶¶ 23-29; AF-C ¶¶ 157, 236, 368, 386, 394. Apple has used DCS to
           19     address issues of ambient light rejection since 2013. Id.
           20           Plaintiffs also cannot establish use through the doctrine of “negative know-how,”
           21     which refers to how “a defendant might … tak[e the] lesson to avoid developing
           22     apparently fruitless technology. Waymo, 2018 WL 466510, at *2. Dr. Lamego did not
           23     warn Apple away from his demodulation plan; he recommended it. Apple then wasted
           24     time evaluating and rejecting his proposal,
           25
           26
           27
           28

Wilmer Cutler
Pickering Hale     APPLE’S POST-TRIAL BRIEF
and Dorr LLP
                                                             30           CASE NO. 8:20-cv-00048-JVS (JDEX)
                 Case 8:20-cv-00048-JVS-JDE      Document 2455-1     Filed 01/08/25   Page 38 of 58
                                                 Page ID #:204398

             1          Plaintiffs also failed to prove that Apple can be liable for improperly acquiring
             2    D1, D3, or D10 because Dr. Lamego was not employed by Plaintiffs when he developed
             3    the technologies in his rejected demodulation proposal.15 Rather, Dr. Lamego wrote the
             4                     upon which D1, D3, D10 and the                 are based in March 2014
             5    (i.e., when he was employed by Apple) and did so using well-known concepts he had
             6    learned during his undergraduate education. See AF-C ¶ 220. Dr. Lamego testified that
             7    he did not use or disclose any of Plaintiffs’ confidential information in connection with
             8    his work on                       , see 11/7 PM Tr. [Lamego] 130:12-16, and other Apple
             9    employees similarly testified that they were unaware of any confidential information
           10     belonging to Plaintiffs being used in connection with this work. See AF-C ¶ 27.
           11           Finally, Plaintiffs have not established that Apple is liable for misappropriation-
           12     by-disclosure in connection with                                    In particular, as Dr.
           13     Sarrafzadeh explained, the               does not disclose D1 because it fails to
           14
           15                                                          Plaintiffs also failed to carry their
           16     burden to prove that
           17
           18           While D10 echoes                                   that is only because Plaintiffs
           19     concededly
           20
           21
           22
           23                            Plaintiffs have failed to show that Apple improperly acquired the
           24     technique described in D10 (since it was derived from Dr. Lamego’s work product at
           25
           26     15
                    Plaintiffs could not establish misappropriation-by-acquisition liability even if Dr.
           27     Lamego had developed D1, D3, or D10 while employed by Plaintiffs, because they
                  advanced no theory (let alone proved) that they were or could be harmed solely by
           28     Apple’s purported acquisition of the demodulation algorithm. See Waymo, 2018 WL
                  466510, at *3; see also AF-C ¶ 369-370.
Wilmer Cutler
Pickering Hale     APPLE’S POST-TRIAL BRIEF
and Dorr LLP
                                                             31           CASE NO. 8:20-cv-00048-JVS (JDEX)
                 Case 8:20-cv-00048-JVS-JDE      Document 2455-1    Filed 01/08/25   Page 39 of 58
                                                 Page ID #:204399

             1    Apple) and, in any event, have not shown that Plaintiffs suffered any harm from the
             2                                   (let alone harm from the purported acquisition of D10).
             3    For instance, Plaintiffs presented no evidence that there was a change to their business
             4    or to the industry following                                . Nor is there any evidence
             5    that the            has been asserted against or used or licensed by anyone. As noted
             6    above, Plaintiffs cannot establish CUTSA liability without proving that the purported
             7    misappropriation “was a substantial factor in causing the[m] … harm.”              AMN
             8    Healthcare, 28 Cal. App. 5th at 942; see also Unilogic, Inc. v. Burroughs Corp., 10 Cal.
             9    App. 4th 612, 626 (1992) (same).
           10           B.     Plaintiffs Have Failed To Prove That Apple Had The Requisite Intent
           11                  To Misappropriate Trade Secrets
           12           Even if Plaintiffs had shown possession, secrecy, and acquisition/use/disclosure
           13     of L4, L5, D1, D3, or D10 (when in fact, they have shown none of these), Plaintiffs have
           14     not come close to establishing that Apple had the necessary intent to misappropriate. To
           15     make that showing, Plaintiffs were required to prove that Apple, at a minimum, (1) used
           16     “improper means to acquire knowledge of the [alleged] trade secret[s]” or (2) “knew or
           17     had reason to know that [its] knowledge of the [alleged] trade secret[s] was … [d]erived
           18     from or through a person who owed a duty to [Plaintiffs] to maintain its secrecy or limit
           19     its use.” Cal. Civ. Code § 3426.1(b)(2)(A), (B)(iii).16 The evidence does not remotely
           20     prove that Apple knew or should have known that Dr. Lamego provided any of
           21     Plaintiffs’ confidential information, let alone that Apple hired Dr. Lamego for the
           22     purpose of misappropriation.
           23
           24
           25
           26     16
                    Plaintiffs do not dispute (1) Dr. Lamego lawfully obtained access to their confidential
           27     information in his capacity as their employee, or (2) Plaintiffs provided no trade secret
                  information directly to Apple. See AF-C ¶ 282. Other modes of misappropriation
           28     CUTSA contemplates are thus irrelevant, see Cal. Civ. Code § 3426.1(b)(2)(B)(i)-(ii).
                  This Court declined to charge the jury on those theories. See Dkt. 1715 at 40.
Wilmer Cutler
Pickering Hale     APPLE’S POST-TRIAL BRIEF
and Dorr LLP
                                                            32           CASE NO. 8:20-cv-00048-JVS (JDEX)
                 Case 8:20-cv-00048-JVS-JDE     Document 2455-1      Filed 01/08/25   Page 40 of 58
                                                Page ID #:204400

             1                 1.    Apple Did Not Hire Dr. Lamego Intending To Access Plaintiffs’
             2                       Confidential Information (Direct Misappropriation)
             3          During the 2023 trial, Plaintiffs requested (over Apple’s objection) that the Court
             4    charge the jury on the theory that Apple directly misappropriated by using “[i]mproper
             5    means of acquiring … knowledge of a trade secret, includ[ing] theft, financial
             6    inducements, misrepresentation, or breach or inducement of a breach of a duty to
             7    maintain secrecy.” Dkt. 1715 at 43 (Court’s Instruction No. 33). Each of these extreme
             8    accusations would have required Plaintiffs to show that Apple had at least specific intent
             9    to injure or defraud Plaintiffs. See Dkt. 1765 at 17 (collecting cases providing the legal
           10     standard for theft, bribery, etc.). The record is devoid of any such evidence. The closest
           11     Plaintiffs could muster at the first trial was the fact that Apple offered Dr. Lamego more
           12     compensation than most other engineers hired at his level. See Dkt. 1703 at 4. But this
           13     offer reflected only that “he came from a much higher comp and title position at his
           14     previous company,”—it “[d]idn’t have anything to do with his knowledge.” 11/8 PM
           15     Tr. [Hotelling] 58:2-15. Moreover, Dr. Lamego, Mr. Hotelling, and the documentary
           16     record confirm that Apple employees took care “multiple times, many times” to “make
           17     clear” to Dr. Lamego that Apple’s policies forbid using other companies’ confidential
           18     information. 11/7 PM Tr. [Lamego] 130:10-11; see also, e.g., Hotelling Direct ¶¶ 46,
           19     49-54; JTX-3044 (signed Intellectual Property Agreement).
           20            Plaintiffs appear to have abandoned this unfounded theory of liability. See
           21     generally PF-C [COL] ¶¶ 1-122 (nowhere asserting any direct misappropriation
           22     theory).17 While Plaintiffs repackage this argument as part of their plea for attorney’s
           23     fees, PF-C [FOF] ¶¶ 375-384, that request is equally meritless. See infra pp. 43-45.
           24
           25
           26     17
                    In 2023, Apple moved for JMOL on direct misappropriation at both the FRCP 50(a)
           27     and 50(b) stages. See Dkts. 1705 at 2-3; 1765 at 17. The Court did not expressly grant
                  JMOL on this issue, but it has presented the sole issue as whether Apple knew or had
           28     reason to know Dr. Lamego conveyed Plaintiffs’ confidential information—i.e., whether
                  Apple is liable for indirect misappropriation. See Dkt. 1723 at 3; Dkt. 1901 at 19-20.
Wilmer Cutler
Pickering Hale     APPLE’S POST-TRIAL BRIEF
and Dorr LLP
                                                             33           CASE NO. 8:20-cv-00048-JVS (JDEX)
                 Case 8:20-cv-00048-JVS-JDE       Document 2455-1      Filed 01/08/25    Page 41 of 58
                                                  Page ID #:204401

             1                 2.     Plaintiffs Have Not Established That Apple Knew Or Should
             2                        Have Known That Dr. Lamego Conveyed Any Of Plaintiffs’
             3                        Allegedly Confidential Information During His Six-Month
             4                        Employment (Indirect Misappropriation)
             5          Plaintiffs have failed to show that Apple “knew or had reason to know” that Dr.
             6    Lamego had conveyed Plaintiffs’ allegedly confidential information in breach of a duty.
             7    Cal. Civ. Code § 3426.1(b)(2)(B)(iii). To meet their burden, Plaintiffs were required to
             8    prove that “another [Apple] employee besides Lamego … knew [or] … should have
             9    known” about the alleged misappropriation. Dkt. 1723 at 3. This is because the doctrine
           10     of respondeat superior does not apply in this context. As this Court has repeatedly held,
           11     it is wrong “‘to impute an agent’s knowledge of a secret to the principal,’ at least where
           12     [as here] the agent ‘did not inform other employees of plaintiff’s concept.’” Dkt. 1723
           13     at 3 (quoting Carr v. AutoNation, Inc., 2018 WL 288018, at *2 (E.D. Cal. Jan. 4, 2018);
           14     Dkt. 1901 at 19 (same).
           15           In light of Plaintiffs’ repeated, failed attempts to raise a respondeat superior
           16     theory during the first trial, this Court instructed Plaintiffs in August 2023 that “the Court
           17     has already ruled on this issue … and does not intend to revisit it for any future trial.”
           18     Dkt. 1901 at 18 n.7. Plaintiffs ignored this guidance by reasserting the same respondeat
           19     superior theory three more times in October 2024 alone. See Dkt. 2175 at 21 (Plaintiffs’
           20     Contentions Of Law And Fact); Dkt. 2216 at 2-5 (Plaintiffs’ October 29, 2024 Trial
           21     Brief); Dkt. 2218-1 at 99-100, 106 (Plaintiffs’ October 29, 2024 Proposed Findings Of
           22     Fact And Conclusions Of Law).           This sub silentio request for reconsideration is
           23     improper, particularly because Plaintiffs have not identified any new authority beyond
           24     what they pointed to in April 2023. Compare, e.g., Dkt. 2216 at 2-4 (citing Burlington,
           25     Yamaguchi, Lisa M., Language Line, Allergan, Sotera, and Brain Injury) with
           26     Sprankling Decl. Ex. A (April 25, 2023 email from Plaintiffs’ counsel listing the same
           27     cases and nearly two dozen others as “authorities on which we may rely during [the
           28

Wilmer Cutler
Pickering Hale     APPLE’S POST-TRIAL BRIEF
and Dorr LLP
                                                               34            CASE NO. 8:20-cv-00048-JVS (JDEX)
                 Case 8:20-cv-00048-JVS-JDE      Document 2455-1       Filed 01/08/25   Page 42 of 58
                                                 Page ID #:204402

             1    FRCP 50(a)] oral argument” later that day); Dkt. 1812 at 16-17 (Plaintiffs’ opposition
             2    to Apple’s FRCP 50(b) motion citing Burlington, Yamaguchi, and Brain Injury).
             3          Of course, even if the respondeat superior were available, Dr. Lamego has
             4    repeatedly testified under oath that he does not believe (and has no reason to believe) he
             5    conveyed Plaintiffs’ purported trade secrets to Apple. See 11/7 PM Tr. [Lamego]
             6    135:19-136:13. But Plaintiffs’ attempts to tiptoe around this Court’s prior ruling
             7    underscores that—without respondeat superior—they have no plausible intent theory.
             8    Plaintiffs have not presented a shred of evidence establishing that any Apple employee
             9    knew or should have known that any information Dr. Lamego conveyed during his six-
           10     month employment was derived from Plaintiffs’ confidential information. To the
           11     contrary, Apple’s current and former employees consistently testified that they are not
           12     aware of Dr. Lamego having provided any confidential Masimo or Cercacor information
           13     while he worked at Apple. See, e.g., Hotelling Direct ¶¶ 66-67, 83; see also Land Direct
           14     ¶¶ 83-84; Waydo Direct ¶¶ 60-61; Block Direct ¶¶ 16-17, 58; Ness Direct ¶ 7; Perica
           15     Direct ¶ 6, 19; Russell-Clarke Direct ¶ 30. Dr. Lamego also “affirmatively stated” to his
           16     colleagues “that he was taking care to avoid intellectual property conflicts.” Hotelling
           17     Direct ¶ 67.   For instance, when Dr. Lamego described his work on
           18                                                     that Plaintiffs allege conveyed D1, D3, and
           19     D10, Dr. Lamego wrote that he “had to exercise extra care to avoid IP conflicts.” JTX-
           20     3050 at -213. Plaintiffs have never identified any reason why Mr. Hotelling or any other
           21     Apple employee should have doubted Dr. Lamego’s representations or otherwise
           22     suspected that he had conveyed Plaintiffs’ confidential information. Cf. 11/6 PM Tr.
           23     [Madisetti] 46:22-47:18 (Dr. Madisetti agreeing that he was not offering any “opinion
           24     that Apple intentionally took trade secrets from Masimo or Cercacor”).
           25           More broadly, Plaintiffs failed to substantiate their underlying theory of the case:
           26     that Apple supposedly hired Dr. Lamego as a substitute for acquiring or partnering with
           27     Masimo. Apple CEO Tim Cook had no recollection of Adrian Perica ever “raising with
           28     [him] a possible M&A” or “a joint development with Masimo.” Dkt. 2402-3 [Cook

Wilmer Cutler
Pickering Hale     APPLE’S POST-TRIAL BRIEF
and Dorr LLP
                                                             35             CASE NO. 8:20-cv-00048-JVS (JDEX)
                 Case 8:20-cv-00048-JVS-JDE      Document 2455-1     Filed 01/08/25   Page 43 of 58
                                                 Page ID #:204403

             1    Dep.] 53:18-54:1. Apple took none of the “significant series of steps” that would be
             2    involved even in formulating an offer to acquire “a large public company” like Masimo.
             3    See 11/8 AM Tr. [Perica] 54:5-15.        Nor does the evidence suggest that Apple’s
             4    leadership felt any need to look outside for help on its sensor engineering. Id. at 55:23-
             5    56:2. Plaintiffs’ allegation to the contrary is based on a single, out-of-context remark
             6    from an email between an engineering leader and the head of Apple’s industrial design
             7    group, stating that the Apple Watch optical sensor engineering effort was “confused”
             8    and thus “a mess.” JTX-337 at -427. But that email makes clear that the “confus[ion]”
             9    arose from the then-existing directive for engineers to place the optical sensor in a
           10     constrained space within the “showerhead” layout proposed by the industrial design
           11     team—a design option that was ultimately abandoned in favor of the design that shipped.
           12     See 11/8 PM Tr. [Hotelling] 74:4-75:2. In fact, in summarizing for Mr. Cook Apple’s
           13     capabilities in “[n]on-invasive diagnostics,” Mr. Perica expressed confidence that “we
           14     internally understand how to be good at these engineering disciplines.” JTX-316 at -
           15     707.
           16            Apple’s actual intent was to hire Dr. Lamego for his general expertise, in the hope
           17     that after joining Apple, he would bring inventive energies to Apple research projects.
           18     See Hotelling Direct ¶ 49 (“In onboarding Dr. Lamego, I communicated to him that he
           19     should not bring any confidential information from his prior employers[.]”). Apple did
           20     not want—and explicitly told Dr. Lamego it did not want—him to use any confidential
           21     information from Plaintiffs while at Apple. See, e.g., id. ¶¶ 49-54; JTX-3044 (signed
           22     Intellectual Property Agreement); 11/7 PM Tr. [Lamego] 100:4-16 (“They didn’t want
           23     to have any type of transfer from Masimo to Apple, by any means. I heard that almost
           24     every week, if not every day at Apple. They were very, very careful about that.”). And
           25     in fact, he did not.
           26            C.     Plaintiffs’ CUTSA Claim Is Time Barred
           27            The parties’ dispute over the statute of limitations is now relatively narrow.
           28     Plaintiffs have conceded Apple has met its initial burden to show that the purported

Wilmer Cutler
Pickering Hale     APPLE’S POST-TRIAL BRIEF
and Dorr LLP
                                                             36           CASE NO. 8:20-cv-00048-JVS (JDEX)
                 Case 8:20-cv-00048-JVS-JDE      Document 2455-1      Filed 01/08/25    Page 44 of 58
                                                 Page ID #:204404

             1    misappropriation began outside of the three-year statute of limitations period (i.e.,
             2    “before January 9, 2017”). Dkt. 1901 at 17; see also Dkt. 2280 at 9. And this Court has
             3    held that L4, L5, D1, D3, and D10 “are related for statute-of-limitations-notice
             4    purposes,” meaning that “the statute of limitations beg[an] to run for all [of them] as
             5    soon as Plaintiffs could have discovered that Apple misappropriated a single one.” Dkt.
             6    1901 at 18. Accordingly, Plaintiffs’ CUTSA claim is time-barred unless Plaintiffs
             7    proved that they lacked “reason to suspect … misappropriat[ion], … [under
             8    circumstances where] a reasonable investigation would produce facts sufficient to
             9    confirm this suspicion[.]” Dkt. 606 at 3; see also Dkt. 1715 at 46; Gabriel Techs. Corp.
           10     v. Qualcomm Inc., 857 F. Supp. 2d 997, 1003 (S.D. Cal. 2012).
           11           Plaintiffs failed to carry their burden. Plaintiffs first articulated their (unfounded)
           12     suspicion that Apple had hired Dr. Lamego to misappropriate trade secrets as early as
           13     January 2014—days before Dr. Lamego began working for Apple. See Kiani Direct ¶
           14     211. At that time, Plaintiffs sent Apple a letter stating that “[i]t is difficult to imagine
           15     any reason for this sequence of events other than Apple … attempting to gain access
           16     to … Cercacor and Masimo’s trade secrets.” JTX-2937 at -093.18 Mr. Kiani himself
           17     testified that the January 2014 “letter explained” the theory that remains the thesis of
           18     this litigation—i.e., that “Apple had already approached Masimo about a possible
           19     collaboration but had abandoned these discussions without explaining why and was
           20     targeting Masimo and Cercacor personnel for hiring.” Kiani Direct ¶ 210.
           21           In addition, a reasonable investigation would have confirmed well before January
           22     2017 Plaintiffs’ suspicions that Dr. Lamego was working on physiological sensors,
           23     which their letter (falsely) asserted would amount to trade secret misappropriation. That
           24     is because, as Mr. Kiani admitted, “documents linking Dr. Lamego to physiological
           25
           26     18
                    Plaintiffs’ January 2014 letter also wrongly asserted that Dr. Lamego’s employment
           27     agreement “prohibit[ed him[ … from competing with Cercacor” for two years after
                  leaving. JTX-2937 at -093. California law bars employers from imposing such broad
           28     non-compete obligations as conditions of employment. See Cal. Bus. & Prof. Code
                  § 16600(b)(1).
Wilmer Cutler
Pickering Hale     APPLE’S POST-TRIAL BRIEF
and Dorr LLP
                                                              37            CASE NO. 8:20-cv-00048-JVS (JDEX)
                 Case 8:20-cv-00048-JVS-JDE     Document 2455-1      Filed 01/08/25   Page 45 of 58
                                                Page ID #:204405

             1    sensors at Apple were public as of 2016.” 11/5 PM Tr. [Kiani] 16:10-15. Specifically,
             2    in March 2016, the application for U.S. Patent No. 10,078,052 published and listed Dr.
             3    Lamego as an inventor. JTX-1239 at -140. The ’052 application covers technology
             4    usable for “a wearable fitness device … positioned against the skin of a user’s wrist” to
             5    “obtain therefrom certain physiological data about the user such as heart rate, … blood
             6    oxygenation, … and so on.” JTX-1239 at 1:48-53; see also 11/5 PM Tr. [Kiani] 15:4-
             7    16:15. This information should have been more than enough to alert Plaintiffs to their
             8    claim, as their own January 2014 letter asserted that if Apple “employ[ed] Mr. Lamego
             9    in an area … involv[ing] healthcare technology, including … the measurement of
           10     physiological information,” Apple would necessarily encroach upon “Cercacor and
           11     Masimo’s trade secrets.” JTX-2937 at -093-094. Accordingly, the three-year statute of
           12     limitations began to run at least by March 2016, and Plaintiffs’ January 2020 CUTSA
           13     claim is untimely.19
           14           While Plaintiffs have argued that Mr. Kiani was not personally on notice of
           15     Plaintiffs’ claim (because of assurances he supposedly received from Dr. Lamego and
           16     others, e.g., PF-C [COL] ¶¶ 100-105), Plaintiffs have cited no authority holding that a
           17     single corporate officer’s personal knowledge can substitute for an entire corporation.
           18     That approach would lead to terrible incentives (a CEO’s strategic decision to bury his
           19     head in the sand, for example, could shield the corporation even though another officer
           20     had the requisite knowledge), and it is impossible to square with how Plaintiffs (and this
           21     Court’s jury instructions) have assessed Apple’s knowledge in the context of
           22     misappropriation. See, e.g., Dkt. 1715 at 39 (Apple’s mens rea assessed based on
           23     whether any “person at Apple” other than Dr. Lamego or Dr. Michael O’Reilly were
           24     aware the purported trade secrets were obtained through improper means).
           25
           26
           27     19
                    Plaintiffs’ suit is also barred as untimely under the equitable doctrines of laches and
           28     waiver. See AF-C ¶¶ 430-434. Apple continues to preserve for appeal its other
                  affirmative defenses of readily ascertainable and unclean hands. See id.
Wilmer Cutler
Pickering Hale     APPLE’S POST-TRIAL BRIEF
and Dorr LLP
                                                             38           CASE NO. 8:20-cv-00048-JVS (JDEX)
                 Case 8:20-cv-00048-JVS-JDE      Document 2455-1      Filed 01/08/25    Page 46 of 58
                                                 Page ID #:204406

             1          In any event, Mr. Kiani was undoubtedly on notice. Mr. Kiani authorized sending
             2    the January 2014 letter precisely because “we were worried” that Apple “was trying to
             3    steal trade secrets.” 11/5 PM Tr. [Kiani] 10:9-13.20 Moreover, Mr. Kiani asserts that he
             4    was told later that year that Apple “had asked [Dr. Lamego] to do something that would
             5    compete with” Plaintiffs. Kiani Direct ¶ 212. As this Court recently observed, “if Kiani
             6    believed Dalvi at the time of the statements,” then “Dalvi’s representation that Apple
             7    had attempted to coerce Lamego into divulging trade secrets potentially should have
             8    triggered an investigation.” Dkt. 2348 at 2. Mr. Kiani has in fact testified that “I
             9    believed what Dalvi told me,” Kiani Direct ¶ 212, and has provided no convincing
           10     explanation for why Plaintiffs did not at least attempt to investigate at that time.
           11           Of course, even had Plaintiffs timely brought this case, it would have failed,
           12     because there was no misappropriation by Apple at any point in time.
           13           D.     Plaintiffs Are Not Entitled To An Injunction Or Any Other Relief
           14                  1.     Plaintiffs Are Barred From Receiving An Injunction
           15           As detailed above, Plaintiffs have failed to meet a host of merits requirements,
           16     mooting the question of remedies. Even if the many evidentiary gaps in Plaintiffs’
           17     liability case were filled, however, Plaintiffs failed to timely identify facts or legal
           18     theories that would support an injunction or even put Apple on notice as to the scope of
           19     the injunction being sought. Plaintiffs’ operative complaint makes only one reference
           20     to an injunction and—even then—describes Plaintiffs’ requested relief at a high-level of
           21     generality. See Dkt. 296-1 at 132. Apple accordingly served Interrogatory No. 17 on
           22     April 14, 2020, which asked Plaintiffs to “[s]tate in detail all factual and legal bases for
           23     Your contention that You are entitled to any relief in this case, including … injunctive
           24     relief.” Dkt. 2181-2 at 5. Plaintiffs supplemented their response to Interrogatory No.
           25     17 nine times before the 2023 trial and three times after that, but they never identified
           26
                  20
           27        The word “worry” is virtually synonymous with “suspicion.” See Black’s Law
                  Dictionary (12th ed. 2024) (defining “suspicion” as “[t]he apprehension or imagination
           28     of the existence of something wrong based on inconclusive or slight evidence, or
                  possibly even no evidence”).
Wilmer Cutler
Pickering Hale     APPLE’S POST-TRIAL BRIEF
and Dorr LLP
                                                              39           CASE NO. 8:20-cv-00048-JVS (JDEX)
                 Case 8:20-cv-00048-JVS-JDE      Document 2455-1      Filed 01/08/25    Page 47 of 58
                                                 Page ID #:204407

             1    their purported basis for seeking an injunction. Id. at 6, 13, 20-21. The first time
             2    Plaintiffs articulated the legal and factual bases for their injunction request was in their
             3    October 29, 2024 Proposed Findings Of Fact And Conclusions Of Law. See PF-C [FOF]
             4    at ¶¶ 335-348; id. [COL] ¶¶ 69-81. These theories, disclosed only one week before the
             5    retrial, are thus “untimely and should be excluded under Rule 37(c)(1).” Dkt. 1526 at 1
             6    (excluding part of Apple’s unclean hands defense shortly before April 2023 trial); see
             7    also Yeti by Molly Ltd. v. Deckers Outdoor Corp., 259 F.3d 1101, 1106-1108 (9th Cir.
             8    2001) (discussing FRCP 37).
             9          Plaintiffs cannot prove that “[]either of the[] exceptions” to Rule 37(c)(1)—
           10     substantial justification or harmlessness—“applies here.” Yeti, 259 F.3d at 1106-1108.
           11     First, there can be no justification for more than four years of silence on the metes-and-
           12     bounds of the remedy that Plaintiffs’ lead counsel now asserts was “the goal of th[is]
           13     case.” 11/5 AM Tr. [Opening] 30:17-31:14 (“Forget about the money. It was a
           14     diversion.”). Second, Plaintiffs’ delay was not harmless. By refusing to provide clarity
           15     regarding their request for injunctive relief over four years, Plaintiffs deprived Apple of
           16     the opportunity to take discovery on Plaintiffs’ (still vague) theories of harm or to put
           17     on an expert witness.
           18                  2.     Plaintiffs Are Not Entitled To An Injunction Under eBay
           19           a. eBay Factor 1: No irreparable injury. Plaintiffs have not identified a
           20     coherent, non-speculative theory of irreparable harm. See, e.g., San Miguel Pure Foods
           21     Co., v. Ramar Int’l Corp., 625 F. App’x 322, 327 (9th Cir. 2015) (reversing grant of
           22     permanent injunction where “district court’s finding of irreparable harm was based on
           23     the speculation that ‘Ramar would effectively lose control over the Magnolia brand’”)
           24     (emphasis in original) (quotation marks and citation omitted). Plaintiffs’ Proposed
           25     Findings list a half-dozen future “risk[s]” or hypothetical scenarios where Plaintiffs
           26     “would be harmed,” see PF-C [FOF] ¶¶ 323-325; id. [COL] ¶ 76, but this is pure attorney
           27     argument. See also, e.g., PF-C [FOF] ¶¶ 324, 325, 329 (“Masimo would have to
           28     compete against...,” “Masimo would be harmed if Apple                                 “This

Wilmer Cutler
Pickering Hale     APPLE’S POST-TRIAL BRIEF
and Dorr LLP
                                                              40           CASE NO. 8:20-cv-00048-JVS (JDEX)
                 Case 8:20-cv-00048-JVS-JDE     Document 2455-1     Filed 01/08/25   Page 48 of 58
                                                Page ID #:204408

             1    would cause a chilling effect”). Plaintiffs have never clearly explained how they have
             2    been harmed by Apple’s purported misappropriation of any of the five alleged trade
             3    secrets, and they adduced no non-speculative testimony or evidence that they will be
             4    harmed in the future. See AF-C ¶¶ 226-237. While Plaintiffs assert (based on a few
             5    conclusory statements from Mr. Kiani) that future misappropriation would chill
             6    Plaintiffs’ engineers’ willingness to collaborate, PF-C [FOF] ¶ 329; see also id. [COL]
             7    ¶ 76, this is again highly speculative. Regardless, Plaintiffs do not explain why a legal
             8    remedy would not prevent that supposed chilling effect. Finally, while Plaintiffs contend
             9    that they suffered a “reduction in demand for [their] technology” when the Blood
           10     Oxygen feature was introduced on Apple Watch, PF-C [FOF] ¶ 327, Plaintiffs never
           11     specifically connected L4, L5, D1, D3, or D10 to the Blood Oxygen feature, nor did they
           12     introduce any evidence of the purported reduction. See Dkt. 1841 at 14-16; see also Dkt.
           13     2348 at 2 (Court noting lack of “persuasive” evidence that Apple’s purported
           14     “misappropriation … weakened consumer interest in products with the Masimo health
           15     module” or the W1); 11/6 AM Tr. [Muhsin] 98:20-99:6 (Masimo’s COO conceding
           16     Plaintiffs “are not aware of any sale that Masimo has lost to Apple”); AF-C ¶¶ 229- 234.
           17           Plaintiffs also appear to ask the Court to presume irreparable harm based upon a
           18     finding of CUTSA liability. PF-C [COL] ¶¶ 71-72. The Ninth Circuit has flatly rejected
           19     that argument. See Citcon USA, LLC v. RiverPay Inc., 2022 WL 287563, at *2 (9th Cir.
           20     Jan. 31, 2022) (The “argument … that injunctive relief automatically flows from a
           21     successful trade secret misappropriation claim[] is untenable.”). Citcon aligns with
           22     eBay’s prohibition on “categorical rule[s]” when assessing the appropriateness of an
           23     injunction. eBay Inc. v. MercExchange, LLC, 547 U.S. at 388, 393 (2006); see also,
           24     e.g., Robert Bosch LLC v. Pylon Mfg. Corp., 659 F.3d 1142, 1149 (Fed. Cir. 2011)
           25     (“eBay jettisoned the presumption of irreparable harm”).
           26           b. eBay Factor 2: Legal remedies are sufficient. Plaintiffs had adequate legal
           27     remedies to compensate for injury caused by Apple’s purported misappropriation—they
           28     simply chose not to pursue them. Plaintiffs consistently argued until recently that their

Wilmer Cutler
Pickering Hale     APPLE’S POST-TRIAL BRIEF
and Dorr LLP
                                                            41           CASE NO. 8:20-cv-00048-JVS (JDEX)
                 Case 8:20-cv-00048-JVS-JDE     Document 2455-1     Filed 01/08/25   Page 49 of 58
                                                Page ID #:204409

             1    harm could be compensated via money (whether through a reasonable royalty or lost
             2    profits) and that any purported benefit to Apple was redressable through an award of
             3    unjust enrichment. See Dkt. 2181-1 at 1-2. CUTSA’s injunction provision is not meant
             4    to be invoked in such a situation. See Robert L. Cloud & Assocs v. Mikesell, 69 Cal.
             5    App. 4th 1141, 1150 (1999) (injunction limited to situations where money would not
             6    afford relief or the appropriate amount would be difficult to quantify). That Plaintiffs
             7    have “voluntarily chos[e]n to forego a legal remedy” does not “mean that ‘no adequate
             8    legal remedy’ exists,” Bennett v. Isagenix Int’l, 118 F.4th 1120, 1129 (9th Cir. 2024)
             9    (emphasis in original), as a party cannot “bolster its case for equitable relief by
           10     abandoning its request for … damages,” TD Bank N.A. v. Hill, 928 F.3d 259, 282-283
           11     (3d Cir. 2019).21
           12           c. eBay Factors 3 and 4: The breadth of Plaintiffs’ requested injunction
           13     means the balance of hardships and public interest factors favor Apple. Plaintiffs
           14     have failed to draw any non-speculative link between the purported trade secrets and
           15     any Apple Watch feature, including Blood Oxygen. See supra p. 41. This is because
           16     the purported trade secrets are essentially de minimis to Apple Watch’s functioning.
           17     Even L5—the only purported secret that is even arguably incorporated into Apple
           18     Watch—is used in in a single circuit out of over a million and simply to implement a
           19     “best practice.” See supra pp. 24-25. In the counterfactual scenario where Plaintiffs
           20     actually proved liability and met all the eBay factors, an injunction would need to be
           21     limited to the particular alleged trade secrets—L4, L5, D1, D3, and D10—rather than
           22     Apple Watch as a whole or any feature within Apple Watch. See Lamb-Weston, Inc. v.
           23     McCain Foods, Ltd., 941 F.2d 970, 974 (9th Cir. 1991) (“Injunctive relief … must be
           24     tailored to remedy the specific harm alleged.”). Yet Plaintiffs have sought a broad
           25
           26     21
                    Two of Plaintiffs’ cases (Universal and Equate, see PF-C [COL] ¶ 73) suggesting
           27     monetary damages are per se insufficient provide no reasoning, much less address
                  eBay’s bar on categorical rules. The third (Trans-World, see PF-C [COL] ¶ 73)
           28     summarizes the (outdated) principle that “ordinarily” damages are backwards-looking.
                  But see Paice LLC v. Toyota Motor Corp., 504 F.3d 1293, 1314 (Fed. Cir. 2007).
Wilmer Cutler
Pickering Hale     APPLE’S POST-TRIAL BRIEF
and Dorr LLP
                                                            42           CASE NO. 8:20-cv-00048-JVS (JDEX)
                 Case 8:20-cv-00048-JVS-JDE      Document 2455-1     Filed 01/08/25   Page 50 of 58
                                                 Page ID #:204410

             1    injunction that targets any “light based monitoring product” that includes or incorporates
             2    the purported secrets, which is wholly disproportionate to the purported harm.22
             3          The breadth of Plaintiffs’ proposed injunctions means the balance of equities
             4    weighs in Apple’s favor. Plaintiffs have identified no cognizable harm caused by
             5    Apple’s purported misappropriation. See supra pp. 16 n.7, 23 n.11, 31 n.15. By contrast,
             6    Plaintiffs’ broad requested injunction could potentially limit Apple’s ability to sell a
             7    fully featured Apple Watch (since nothing but a sliver of Apple Watch (the single short
             8    circuit) purportedly uses any of the alleged trade secrets) and harm Apple’s position in
             9    the marketplace. AF-C ¶ 457.
           10           Relatedly, while the public interest is generally served by protecting trade secret
           11     rights, Plaintiffs have identified nothing more specific that weighs in their favor here.
           12     By contrast, a broad injunction could well “disrupt related third-party businesses, such
           13     as [Apple’s] suppliers and customers,” as well as “the retail sellers of” Apple Watches.
           14     Fractus, S.A. v. Samsung Electronics Co., 876 F. Supp. 2d 802, 854 (E.D. Tex. 2012).
           15     Moreover, Plaintiffs’ requested injunction would disrupt consumers’ access to the broad
           16     set of technologies in Apple Watch, including its health-and-wellness features.
           17           3.     If Any Party Should Receive Attorney’s Fees, It Is Apple
           18           Plaintiffs’ request for attorney’s fees and costs pursuant to CUTSA should be
           19     rejected because they have not come close to proving any misappropriation, let alone
           20     proving by clear and convincing evidence that Apple engaged in willful and malicious
           21     misappropriation. Dkt. 1723 at 19; see also AF-C ¶¶ 466-472. For all the reasons
           22     discussed above, Apple did not misappropriate anything, and did not have the requisite
           23     intent for run-of-the-mill misappropriation, much less a specific “inten[t] … to cause
           24
           25
           26     22
                    It is undisputed that Weber 2018 discloses D1, see Madisetti Direct ¶ 202, and that the
           27                                                            . Apple undisputedly uses neither
                  and wasted resources assessing Dr. Lamego’s proposal. See supra p. 30. Neither D1
           28     nor D10 can be the subject of injunctive relief, because CUTSA requires an “injunction
                  shall be terminated when the trade secret has ceased to exist.” Cal. Civ. Code § 3426.2.
Wilmer Cutler
Pickering Hale     APPLE’S POST-TRIAL BRIEF
and Dorr LLP
                                                             43           CASE NO. 8:20-cv-00048-JVS (JDEX)
                 Case 8:20-cv-00048-JVS-JDE      Document 2455-1      Filed 01/08/25    Page 51 of 58
                                                 Page ID #:204411

             1    injury to [Plaintiffs]” or to behave in a “[d]espicable[,] … vile and wretched” manner.
             2    Ajaxo Inc. v. E*Trade Grp. Inc., 135 Cal. App. 4th 21, 66 (2005); see supra pp. 32-36.
             3          Plaintiffs’ “evidence” to the contrary rests on nothing but strained inference and
             4    baseless innuendo. PF-C [FOF] ¶¶ 375-384. For example, that Dr. Lamego was offered
             5    more compensation than someone of his level normally would receive was a function of
             6    the fact that Dr. Lamego took a step down in title to work in a non-executive role at
             7    Apple. See supra p. 33. Moreover, while Plaintiffs make sweeping generalizations
             8    about Apple’s procedures for ensuring new products do not infringe others intellectual
             9    property, the record here shows that Apple did everything it could to avoid obtaining
           10     Plaintiffs’ confidential information from Dr. Lamego—and succeeded. See AF-C ¶¶ 12,
           11     15-18, 27 (noting that Apple repeatedly instructed Dr. Lamego not to share Plaintiffs’
           12     confidential information and required him to sign an agreement to that effect). As yet
           13     another example, while Plaintiffs imply Apple ignored their January 2014 letter asserting
           14     that Apple had hired Dr. Lamego to acquire Plaintiffs’ purported trade secrets, Dr.
           15     Lamego testified that his Apple colleagues “were very concerned” about intellectual
           16     property issues “because of the letter [Plaintiffs] sent [his] first week” at Apple and that
           17     he had to meet with “a lot of attorneys.” 11/7 PM Tr. [Lamego] 100:4-16.
           18           Regardless whether Plaintiffs could meet their burden, a fees award is always
           19     discretionary under CUTSA.        EnerTrode, Inc. v. Gen. Capacitor Co., 2019 WL
           20     1715170, at *10 (N.D. Cal. Apr. 17, 2019) (denying fees). This Court recognized as
           21     much in True Wearables when it concluded that awarding fees and costs would be
           22     inequitable because, as here, “Plaintiffs drove the trajectory of this case in a manner that
           23     required both parties to spend a significant amount on attorney’s fees as they prepared
           24     for trial” and by the time of trial years later, Plaintiffs had “whittled their intellectual
           25     property case down to a handful of trade secrets” and a few patent claims. 2022 WL
           26     17083396, at *33. As in True Wearables, “it would be inequitable to award Plaintiffs
           27     attorney’s fees in a trade secrets case they seemingly protracted for years, only to forego
           28

Wilmer Cutler
Pickering Hale     APPLE’S POST-TRIAL BRIEF
and Dorr LLP
                                                              44           CASE NO. 8:20-cv-00048-JVS (JDEX)
                 Case 8:20-cv-00048-JVS-JDE       Document 2455-1      Filed 01/08/25   Page 52 of 58
                                                  Page ID #:204412

             1    the right to damages and demand a bench trial over Defendants’ objection in the end.”
             2    Id.23
             3            If any party should receive fees, it is Apple. Cal. Civ. Code § 3426.4 “authorizes
             4    attorney’s fees when ‘a claim of misappropriation is made in bad faith.’” Direct Techs.,
             5    LLC v. Elec. Arts, Inc., 836 F.3d 1059, 1071 (9th Cir. 2016). Attorney’s fees “may be
             6    proper even if the claim is not frivolous” and even if the claim “superficially appear[s]
             7    to have merit.” Id. The test is whether the plaintiffs’ claim is objectively specious and
             8    whether the plaintiff had “subjective bad faith in bringing or maintaining the claim.” Id.
             9            Here, Plaintiffs spent five years litigating a CUTSA claim that initially involved
           10     dozens of alleged trade secrets. Of the ten alleged secrets Plaintiffs ultimately brought
           11     to trial, this Court already held that no reasonable jury could have found liability on five.
           12     Dkt. 1724 at 5-7; Dkt. 1901 at 11-12. Moreover, Plaintiffs have—on the eve of the
           13     retrial—waived without clear explanation the right to seek monetary relief that they once
           14     claimed was worth billions. See Dkt. 2076; Dkt. 2078 at 2. At the retrial, Plaintiffs’
           15     lead counsel told the Court to “[f]orget about the money,” describing these requests—
           16     which had been the subject of time- and resource-intensive litigation for years—as just
           17     “a diversion.” 11/5 AM Tr. [Opening] 30:22-23. Plaintiffs also failed to state a viable
           18     trade secret claim for numerous reasons, and they resorted to shape-shifting at trial in a
           19     final, failed effort to find a thread running from Plaintiffs, through Dr. Lamego, to Apple.
           20     See generally, Dkt. 2345. In short, Plaintiffs’ trade secret claim is clearly meritless, and
           21     its method of litigating that claim “raises an inference of subjective bad faith,” including
           22     “the intention of causing unnecessary delay” and a “purpose of harassing [Apple],”
           23     Gemini Aluminum Corp. v. Cal. Custom Shapes, Inc., 95 Cal. App. 4th 1249, 1263
           24     (2002). Apple reserves the right to file a motion for fees at the appropriate time.
           25
           26
           27     23
                    Because Plaintiffs are not entitled to attorney’s fees—the only monetary relief left that
           28     they have not waived or forfeited—they logically are not entitled to post-judgment
                  interest on that fee award.
Wilmer Cutler
Pickering Hale     APPLE’S POST-TRIAL BRIEF
and Dorr LLP
                                                              45            CASE NO. 8:20-cv-00048-JVS (JDEX)
                 Case 8:20-cv-00048-JVS-JDE       Document 2455-1     Filed 01/08/25   Page 53 of 58
                                                  Page ID #:204413

             1    II.   PLAINTIFFS HAVE NOT PROVEN THAT MR. DIAB CO-INVENTED OR THAT
             2          PLAINTIFFS CO-OWN THE APPLE PATENTS
             3          While Plaintiffs assert that Mohammed Diab should be a named co-inventor on
             4    four Apple patents—i.e., the same patents that he testified at the April 2023 trial he had
             5    “no idea” whether he should be so named, e.g., 4/7/23 Trial Tr. [Diab] 26:4-27:2, 30:18-
             6    32:7, and did not address at all in his direct testimony—they not have come close to
             7    meeting the “heavy burden” of proving by clear and convincing evidence that Mr. Diab
             8    made a significant contribution to at least one of the claims of each patent. See Eli Lilly
             9    & Co. v. Aradigm Corp., 376 F.3d 1352, 1358-1359 (Fed. Cir. 2004); Dkt. 1715 at 51-
           10     52 (Court’s Instruction No. 41). Nor have Plaintiffs shown by a preponderance of the
           11     evidence that Dr. Lamego developed his contribution to the five Apple patents while
           12     employed by Cercacor. See Dkt. 1715 at 53 (Court’s Instruction No. 42). Rather, Dr.
           13     Lamego’s work was done at Apple, and was inspired by the special challenges posed by
           14     a wearable device like Watch.
           15           A.     The Reflective Treatments Applied To Apple Watch That Are
           16                  Claimed In The ’052 and ’670 Patents Were Not Invented By Mr.
           17                  Diab, Nor Are They Co-Owned By Plaintiffs
           18           The concepts underlying U.S. Patent Nos. 10,078,052 and 10,247,670 were
           19     invented in 2014 by a team of Apple engineers, including Trevor Ness and Dr. Lamego.
           20     JTX-1239, JTX-1241. At a high level, the patents describe various ways to use a
           21     reflective treatment on the back of Apple Watch to improve the accuracy of the heart
           22     rate sensor. Ness Direct ¶¶ 30-31; see also AF-C ¶¶ 258-259.
           23           When Dr. Lamego joined Apple, Mr. Ness and his team were already working on
           24     methods to increase the signal and decrease the noise collected by Watch’s optical heart
           25     sensor. Ness Direct ¶ 31. While Mr. Ness determined the right materials and location
           26     for the reflective treatment and others on the team tested prototypes and worked on the
           27     production process, Dr. Lamego’s contribution to this effort was modest—he came up
           28     with the initial idea of applying reflectivity to the back of Watch, although he failed to

Wilmer Cutler
Pickering Hale     APPLE’S POST-TRIAL BRIEF
and Dorr LLP
                                                             46            CASE NO. 8:20-cv-00048-JVS (JDEX)
                 Case 8:20-cv-00048-JVS-JDE       Document 2455-1      Filed 01/08/25   Page 54 of 58
                                                  Page ID #:204414

             1    provide any specific idea for locations or how to do so. Id. ¶¶ 24-28. In fact, Dr.
             2    Lamego’s role was so limited that Mr. Ness (the team leader) has only ever interacted
             3    with Dr. Lamego on two occasions. Id. ¶ 46.
             4          Notably, there is no evidence that Dr. Lamego did any work while employed by
             5    Plaintiffs that relates to his specific contribution to the ’052 and ’670 patents—i.e., using
             6    reflectivity on the back of a smartwatch—because there is no evidence that Dr. Lamego
             7    ever worked on any wrist-worn device while at Masimo or Cercacor. Warren Direct
             8    ¶ 164 (discussing Madisetti Direct ¶ 273). Accordingly, there is no basis to award
             9    Plaintiffs any ownership stake in either patent based on Dr. Lamego’s contribution.
           10           Nor is there any evidence that Mr. Diab contributed anything at all to the ’052 or
           11     ’670 patents, let alone that he made a “contribution [that] was significant in quality as
           12     measured against the scope of the full invention,” as required. Dkt. 1715 at 51 (Court’s
           13     Instruction No. 41). Mr. Diab was not involved in the work that Mr. Ness’s team did at
           14     Apple in 2014, nor did he communicate with any Apple employee regarding the patents’
           15     concepts when they were under development. Ness Direct ¶ 29. At most, Mr. Diab and
           16     Dr. Lamego had previously discussed high-level concepts regarding reflectivity.
           17     However, those same concepts were well known in the prior art, including as a result of
           18     Masimo’s TF-I reflectance sensor, which was released in 2003. AF-C ¶ 266. As the
           19     Court instructed the jury at the first trial, “if someone only explains to the actual
           20     inventors well-known concepts or the current state of the art, then he or she is not a joint
           21     inventor.” Dkt. 1715 at 52 (Court’s Instruction No. 41).
           22           B.     Plaintiffs Failed To Prove That They Co-Own The ’754 Patent
           23           Dr. Lamego invented the concepts underlying U.S. Patent No. 10,219,754 after
           24     he left Cercacor and began working for Apple. At a high-level, the ’754 patent claims
           25     methods and systems for modulation and demodulation of optical signals. JTX-1262.
           26     While Plaintiffs assert that Dr. Lamego invented the ’754 patent while in their employ,
           27     contemporaneous evidence shows his work was done at Apple. For example, Figure 7
           28     of the patent contains the same subject material that appears in an internal Apple

Wilmer Cutler
Pickering Hale     APPLE’S POST-TRIAL BRIEF
and Dorr LLP
                                                              47            CASE NO. 8:20-cv-00048-JVS (JDEX)
                 Case 8:20-cv-00048-JVS-JDE      Document 2455-1    Filed 01/08/25         Page 55 of 58
                                                 Page ID #:204415

             1    presentation. AF-C ¶ 269. Other concepts disclosed in the patent appear in a MATLAB
             2    script that Dr. Lamego wrote while employed at Apple.              Id.     These documents
             3    corroborate Dr. Lamego’s testimony that he developed the demodulation technique that
             4    appears in claim 1 of the ’754 patent to address a specific challenge posed by Apple
             5    Watch. See id.
             6             C.    Mr. Diab’s Discussions With Dr. Lamego About Prior Art Do Not
             7                   Make Mr. Diab A Co-Inventor Or Plaintiffs Co-Owners Of The ’095
             8                   and ’390 Patents
             9             Mr. Hotelling and Dr. Lamego jointly developed U.S. Patent Nos. 9,952,095 and
           10     U.S. Patent No. 11,009,390 while working together at Apple. At a high level of
           11     generality, the two patents claim signal processing methods for optical sensors that can
           12     estimate or determine a user’s physiological parameter (e.g., heart rate). See AF-C
           13     ¶ 246.
           14              Dr. Madisetti testified that Mr. Diab should be named a co-inventor of these
           15     patents on the basis of matching certain claim limitations from the ’095 and ’390 patents
           16     with certain disclosures from two prior Masimo patents on which Mr. Diab was one of
           17     several listed inventors (the ’272 patent and the ’924 publication, publicly disclosed in
           18     1997 and 2006, respectively). AF-C ¶ 250. But this testimony is deficient because it at
           19     most shows that Mr. Diab could have explained to Dr. Lamego concepts that were long
           20     known to a person skilled in the art. Sarrafzadeh Direct ¶ 197. Indeed, Dr. Madisetti
           21     acknowledged that the ideas he believes Mr. Diab conveyed to Dr. Lamego involve well-
           22     known aspects of a physiological sensor. Id. ¶ 199. However, “a purported inventor
           23     must show that he … ‘did more than merely explain to the real inventors well-known
           24     concepts and/or the current state of the art.’” Acromed Corp. v. Sofamor Danek Grp.,
           25     Inc., 253 F.3d 1371, 1379 (Fed. Cir. 2001) (quoting Pannu v. Iolab Corp., 155 F.3d
           26     1344, 1351 (Fed.Cir.1998)). To be sure, “partial contributions to conception over time”
           27     may give rise to inventorship where a putative co-inventor was engaged in
           28     “collaboration [that] spans a period of time and … involve[d] multiple contributions.”

Wilmer Cutler
Pickering Hale     APPLE’S POST-TRIAL BRIEF
and Dorr LLP
                                                            48           CASE NO. 8:20-cv-00048-JVS (JDEX)
                 Case 8:20-cv-00048-JVS-JDE      Document 2455-1        Filed 01/08/25   Page 56 of 58
                                                 Page ID #:204416

             1    Dana-Farber Cancer Inst., Inc. v. Ono Pharm. Co., 964 F.3d 1365, 1372-1373 (Fed.
             2    Cir. 2020).24    But here, no record evidence establishes that Mr. Diab actually
             3    communicated any of the ’095 and ’390 patents’ claim limitations to Dr. Lamego, as
             4    opposed to Dr. Lamego understanding these concepts from his education and experience
             5    outside of Plaintiffs’ employ. Sarrafzadeh Direct ¶ 198.
             6          Plaintiffs also failed to prove that Dr. Lamego worked for them when he invented
             7    the concepts he contributed to the ’095 and ’390 patents. The evidence related to Dr.
             8    Lamego and Mr. Hotelling’s development of the concepts claimed in the ’095 and ’390
             9    Patents instead reflects that the work was conducted at Apple. Hotelling Direct ¶ 74;
           10     Sarrafzadeh Direct ¶ 200. As just one example, a figure that appears in both patents is
           11     similar to a figure Dr. Lamego created for a brainstorming session with Apple colleagues
           12     on March 3, 2014. See AF-C ¶ 248.
           13                                          CONCLUSION
           14           This Court should grant judgment in Apple’s favor on Plaintiffs’ CUTSA claim
           15     and inventorship and ownership claims.           Plaintiffs’ requests for injunctive relief,
           16     attorney’s fees and costs, and prejudgment interest should be denied as moot. If any
           17     party should be awarded fees and costs, it is Apple.
           18
           19
           20
           21
           22
           23
           24
           25
                  24
           26       Plaintiffs wrongly argue that “[s]omeone can be a co-inventor even if he ‘placed his
                  contribution in the prior art more than one year before’ making his contribution.” PF-C
           27     [COL] ¶ 42 (quoting Pannu, 155 F.3d at 1351). Pannu held no such thing. Rather,
                  Pannu held that a putative co-inventor did “more than simply provid[e] … well-known
           28     principles or explain[] the state of the art,” and it was “undisputed that the invention was
                  conceived while [they] were engaged in a collaborative enterprise.” 155 F.3d at 1351.
Wilmer Cutler
Pickering Hale     APPLE’S POST-TRIAL BRIEF
and Dorr LLP
                                                              49             CASE NO. 8:20-cv-00048-JVS (JDEX)
                 Case 8:20-cv-00048-JVS-JDE   Document 2455-1    Filed 01/08/25   Page 57 of 58
                                              Page ID #:204417

             1    Dated: December 19, 2024           Respectfully submitted,
             2
             3                                       MARK D. SELWYN
             4                                       AMY K. WIGMORE
                                                     JOSHUA H. LERNER
             5                                       JOSEPH J. MUELLER
             6                                       SARAH R. FRAZIER
                                                     NORA Q.E. PASSAMANECK
             7                                       THOMAS G. SPRANKLING
             8                                       WILMER CUTLER PICKERING HALE AND
                                                     DORR LLP
             9
           10                                        BRIAN A. ROSENTHAL
                                                     GIBSON, DUNN & CRUTCHER LLP
           11
           12                                        KENNETH G. PARKER
                                                     HAYNES AND BOONE, LLP
           13
           14
           15                                        By: /s/ Mark D. Selwyn
           16                                            Mark D. Selwyn

           17
                                                     Attorneys for Defendant Apple Inc.
           18
           19
           20
           21
           22
           23
           24
           25
           26
           27
           28

Wilmer Cutler
Pickering Hale     APPLE’S POST-TRIAL BRIEF
and Dorr LLP
                                                        50            CASE NO. 8:20-cv-00048-JVS (JDEX)
                 Case 8:20-cv-00048-JVS-JDE        Document 2455-1    Filed 01/08/25   Page 58 of 58
                                                   Page ID #:204418

             1                            CERTIFICATE OF COMPLIANCE
             2          The undersigned, counsel of record for Defendant Apple, Inc., certifies that this
             3    brief is 49 pages long, which:
             4          ___ complies with the word limit of L.R. 11-6.1.
             5           X_ complies with the 50 page limit set by court order dated November 26,
             6           2024.
             7
             8    Dated: December 19, 2024                Respectfully submitted,
             9
                                                          MARK D. SELWYN
           10                                             AMY K. WIGMORE
           11                                             JOSHUA H. LERNER
                                                          JOSEPH J. MUELLER
           12                                             SARAH R. FRAZIER
           13                                             NORA Q.E. PASSAMANECK
                                                          THOMAS G. SPRANKLING
           14                                             WILMER CUTLER PICKERING HALE AND
           15                                             DORR LLP

           16                                             BRIAN A. ROSENTHAL
           17                                             GIBSON, DUNN & CRUTCHER LLP

           18                                             KENNETH G. PARKER
           19                                             HAYNES AND BOONE, LLP

           20
           21                                             By: /s/ Mark D. Selwyn
                                                              Mark D. Selwyn
           22
           23
           24
           25
           26
           27
           28

Wilmer Cutler
Pickering Hale     APPLE’S POST-TRIAL BRIEF
and Dorr LLP
                                                             51            CASE NO. 8:20-cv-00048-JVS (JDEX)
